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                                         U.S. Department of Justice

                                         Matthew M. Graves
                                         United States Attorney

                                         District of Columbia


                                         Patrick Henry Building
                                         601 D Street, NW
                                         Washington, D.C. 20530

                                         May 15, 2024

Mark J. Langer, Clerk
United States Court of Appeals
for the District of Columbia Circuit
333 Constitution Avenue, N.W., Room 5423
Washington, D.C. 20001-2866

      Re:   United States v. Couy Griffin, No. 22-3042
            Oral argument held December 4, 2023, before Judges Pillard,
            Katsas, and Rogers

Dear Mr. Langer:

      Pursuant to Federal Rule of Appellate Procedure 28(j), the
government submits the transcript of an oral ruling made by the
Honorable Randolph D. Moss on May 10, 2024, in United States v. Smith,
No. 23-cr-71, which is relevant to the argument made at pages 40-50 of
the government’s brief.

     In his ruling, which is on pages 82 to 97 of the transcript, Judge
Moss concluded that the “knowingly” mens rea in 18 U.S.C. § 1752(a)(1)
does not require knowledge of a Secret Service protectee’s presence
within the restricted area. Judge Moss explained that, “even if a plain
grammatical reading suggests otherwise, [ ] scienter requirements
usually do not apply to purely jurisdictional elements, because they
normally have nothing to do with the wrongfulness of the defendant’s
conduct” (5/10/24 Tr. 84). When Congress enacted § 1752, “the
requirement that a Secret Service protectee be on the premises would
appear to be jurisdictional only, in much the same way as in” United
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States v. Feola, 420 U.S. 671 (1975) (id. at 87). Subsequent amendments
did not “take a statute in which the presence of a federal protectee was
jurisdictional and where there was not a knowing requirement” and
“fundamentally change the law, in a way which would have been and
would be a major change” (id. at 89). “Ultimately,” Judge Moss explained,
“the question . . . is what was Congress’ intent?” (id. at 97). Answering
that question, he “conclude[d] that the knowing requirement does not
carry all of the way through section 1752(c)(1), but only goes up to the
point of ‘or otherwise restricted area’” (id.).

      In reaching that conclusion, Judge Moss joined nine other district
court judges. See United States v. Easterday, No. 22-404 (JEB), 2024 WL
1513527, at *10 (D.D.C. Apr. 8, 2024) (agreeing with and identifying six
judges who had concluded that § 1752(a) did not “require[ ] knowledge as
to the presence of a Secret-Service protectee”); United States v. Ibrahim,
No. 21-cr-496 (TJK) (Apr. 16, 2024); United States v. Kenyon, No. 23-cr-
101 (ABJ) (Mar. 12, 2024).

                                  Respectfully submitted,

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                                         /s/
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                     ATTACHMENT
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 1                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
 2
 3      UNITED STATES OF AMERICA,
                                                       Criminal Action
 4                   Plaintiff,                        No. 1: 23-71
 5             vs.                                     Washington, DC
                                                       May 10, 2024
 6      BRYAN SHAWN SMITH,
                                                       11:18 a.m.
 7                  Defendant.
        __________________________/
 8
 9                           TRANSCRIPT OF BENCH TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                         UNITED STATES DISTRICT JUDGE
11
        APPEARANCES:
12
        For the Plaintiff:        Eli Joseph Ross
13                                Greg Rosen
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14                                United States Attorney's Office
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                                  Washington, DC 20530
18
19                      APPEARANCES CONTINUED ON NEXT PAGE
20
21
22      Court Reporter:           Sherry Lindsay
                                  Official Court Reporter
23                                U.S. District & Bankruptcy Courts
                                  333 Constitution Avenue, NW
24                                Room 6710
                                  Washington, DC 20001
25
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 1                              P R O C E E D I N G S
 2                   THE COURTROOM DEPUTY: Criminal case 23-71, United
 3      States of America versus Bryan Shawn Smith.
 4                   Would counsel please approach the podium and state
 5      their name for the record, starting with government.
 6                   MR. ROSS: Good morning, Your Honor. Eli Ross, Sarah
 7      Levine, and Greg Rosen on behalf of the United States.
 8                   THE COURT: All right. Good morning to all of you.
 9                   MR. PIERCE: Good morning, Your Honor. John Pierce,
10      Roger Roots and Anthony Sabatini on behalf of the defendant,
11      Bryan Smith, who is also present.
12                   THE COURT: All right. Good morning to all of you as
13      well.
14                   So we are here this morning for argument on the
15      question of whether the knowing requirement for purposes of
16      section 1752 extends to the requirement that a person protected
17      by the Secret Service is or will be temporarily visiting the
18      cordoned off area. And I would be happy to hear from the
19      parties on this. I have reviewed the briefs, decisions from my
20      colleagues, the legislative history, the relevant case law.
21      And I continue to think this is a close question and I am
22      interested in hearing what you have to say.
23                   MR. ROSEN: Good morning, Your Honor.
24                   THE COURT: Good morning.
25                   MR. ROSEN: Greg Rosen on behalf of the United
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 1      States.
 2                   THE COURT: Yes.
 3                   MR. ROSEN: I am the pinch hitter, poor substitute
 4      for counsel right now. But, look, if you have read the
 5      briefing, I think it is fair to say that -- I respectfully
 6      disagree with the Court in terms of whether this is a close
 7      case and here is why. Ultimately when the first case came
 8      about that was adverse to the government it was Elizalde. And
 9      in Elizalde, the issue over whether it was jurisdictional in
10      nature was not something that was properly vetted at the time.
11      And I think when I came before you in the middle of the
12      Middleton case, we discussed that.
13                   THE COURT: Right.
14                   MR. ROSEN: Since then, we have had a number of
15      decisions and the next adverse decision was Groseclose by Judge
16      Cooper.
17                   THE COURT: Yes.
18                   MR. ROSEN: And Judge Cooper's decision as we have
19      sort of used in our template and in our response, which you can
20      see, we actually think that the rationale that Judge Cooper has
21      employed actually is quite correct in terms of the evaluation
22      in terms of the federal protectee as a jurisdictional element,
23      meaning mens rea should not extend. So where it sort of veered
24      off, of course, as we responded in our brief, is whether
25      ultimately to use Judge Cooper's words the addition of a
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 1      6-month penalty in 2006 reconceptualized the statute.
 2                   So if the Court finds that it did reconceptualize the
 3      statute, then we can talk about Elizalde. If the Court finds
 4      it did not, which every Court since then has ruled it did not,
 5      then this is a fairly cookie-cutter issue consistent with the
 6      way the Supreme Court and the D.C. Circuit has evaluated
 7      jurisdictional elements.
 8                   THE COURT: Right. So I am with you in that thinking
 9      about it in that way. But what has puzzled me, actually, is I
10      see the argument that an increase in a penalty from 6 to 12
11      months seems to be a difficult basis to conclude that what was
12      a jurisdictional requirement became an element and that
13      congress reconceived the statute fundamentally when it made
14      that change. But what I am a little puzzled by that no one
15      seems to have addressed is there was a much more fundamental
16      change that occurred at the same time. I believe it occurred
17      at the same time. And that is that Congress added the felony
18      provision to the statute. And the scienter requirement with
19      respect to the presence of a protectee is the same for the
20      felony provision and the misdemeanor. So it is not just they
21      said, oh, by the way, we are going from 6 months to a year,
22      they also said, and by the way, you know, if you are carrying a
23      pocketknife when you trespass, under some circumstances, you
24      might be subject to up to 10 years of prison. And that does
25      strike me as much more fundamental.
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 1                   And then in a subsequent change to the statute they
 2      also later then added the drone provision as well.
 3                   So what I am focusing on is whether those changes are
 4      more fundamental in nature. And I have been trying to think
 5      through some of the hypotheticals. I mean, imagine a person
 6      who loves to go hunting in the Catoctin Mountains. And is out
 7      there and they have their rifle and they are out there hunting
 8      in the woods. And you know all of the time they step over that
 9      barrier for Camp David. And they go into the woods in Camp
10      David where they are doing their hunting. They have got their
11      hunting rifle out there. And, they have no idea and, in fact,
12      they have every reason to think that the president is, you
13      know, in Washington. In fact, everyone is saying the president
14      is in Washington. And there is a secret meeting that is taking
15      place with a foreign head of state that where they secretly
16      rushed the president off. So he is present there. And Camp
17      David may all be separately protected, but you get the point.
18                   And the person has the rifle there and they are not
19      subject -- and they are using their rifle to go hunting as part
20      of their trespassing on that property. It is now a 10-year
21      sentence.
22                   Or, you know, the other hypothetical comes to mind is
23      someone goes to the Iowa Fair where we know candidates often
24      show up at the Iowa Fair. And there is a parking lot at the
25      Iowa Fair. And there is a line up that says do not cross this
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  1     line, the parking lot. The person has no idea that the reason
  2     that is up is because the vice president's helicopter is going
  3     to be landing there soon. And that person's truck is parked in
  4     that parking lot. And they are annoyed. And they are saying
  5     that line wasn't up when I came up before and there is now a
  6     line there. I can't go get my truck? Of course, I am going to
  7     get my truck. And they go and they get their truck and they
  8     get in their truck and they are speeding away. And someone who
  9     doesn't see them pulls in front of them and they are in a car
 10     crash. And the person in the second car is injured, up to 10
 11     years in prison. That feels much more fundamental to me, those
 12     hypotheticals.
 13                  MR. ROSEN: So I will couch this we obviously haven't
 14     briefed the legislative history of that additional provision.
 15                  THE COURT: It is in the same legislative history.
 16     It is not extensive.
 17                  MR. ROSEN: No. I just want to say, sort of
 18     representing, I have not reviewed the Senate or House reports
 19     in terms of what Congress' intent was in the legislative
 20     history adopting this felony provision.
 21                  THE COURT: Right.
 22                  MR. ROSEN: But to attempt to address the Court's
 23     hypothetical in sort of the parade of horribles situation.
 24     When you look at and step back what Congress -- or what the
 25     Supreme Court has consistently held is the whole point of sort
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  1     of the congressional scheme of how far knowingly travels. The
  2     concept -- I know it was used in Elizalde. It was used in many
  3     cases, the snare for the unsuspecting. And the idea that we
  4     want to be able to distinguish what would otherwise be innocent
  5     conduct versus criminal conduct.
  6                  So take the example of the Camp David person. If the
  7     Camp David person is not carrying -- is carrying a firearm or
  8     is carrying some dangerous weapon and they walk on and they
  9     knowingly trespass into the area, but they have no idea who is
 10     in Camp David at that time or that there is a protectee, the
 11     risk and the purpose of Congress is to protect law enforcement
 12     protectees in that zone, in that sphere of influence.
 13                  THE COURT: Right.
 14                  MR. ROSEN: So the assessment of risk does not turn
 15     ultimately on the knowledge of whether or not someone is there.
 16     What it turns on is what Congress' intent was, was to wholesale
 17     protect people based upon a variety of risks. So, for example,
 18     a person who doesn't carry a weapon is less of a risk I think
 19     fair to say than, I think, than a person with a weapon.
 20                  THE COURT: Right.
 21                  MR. ROSEN: So to answer Your Honor's question, I
 22     think that those hypotheticals, which of course are not the
 23     hypothetical here.
 24                  THE COURT: The statute means what it means across
 25     the board.
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  1                  MR. ROSEN: No, of course. I think the answer
  2     remains the same, which is so long as the government can prove
  3     beyond a reasonable doubt that a person knowingly trespassed or
  4     knowingly remained after being told to leave or sort of eject
  5     themselves from the property, the fact they possessed something
  6     additional as a matter of subsection B, which delineates when
  7     the penalties are increased, it need not matter in terms of how
  8     far knowingly travels in that respect.
  9                  THE COURT: You are right that one factor that the
 10     Supreme Court and the other courts have considered in deciding
 11     how far knowingly travels is the risk of unfairly ensnaring
 12     somebody in a statute, but that is not the only factor that the
 13     courts consider. And ultimately the Court has to decide, did
 14     Congress intend knowingly to travel or not? And in making that
 15     determination, the Court has to, consistent with Feola, figure
 16     out what the purpose of the statute is. And if the purpose of
 17     the statute, for example, is just to ensure there is a federal
 18     forum or that the federal officials have the ability to bring
 19     an action where the conduct would otherwise be punishable, for
 20     example, under state law, that could cut one way. And so in
 21     Feola, the Court holds and says, what Congress was really
 22     concerned about was that the states might not be trusted to as
 23     vigorously enforce the murder statute or state murder law or
 24     state assault law against a federal -- where a federal official
 25     was a victim whereas a state official was a victim. And we
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  1     want to be able to have our own say in this because we care
  2     deeply about it and we want to make sure that we can actually
  3     bring this prosecution even if the state doesn't bring it with
  4     the same vigor that we might bring it. And that suggests that
  5     the requirement is really jurisdictional. It is a question of
  6     who gets to bring the case and where.
  7                  And the reason I bring up the felony provisions is
  8     that in the past and I just -- I went back and listened again
  9     to the portion of the oral argument in -- I can't remember if
 10     it was Griffon or Griffith.
 11                  MR. ROSEN: Griffon.
 12                  THE COURT: Yeah, Griffon. But that is part of what
 13     at least Judge Katsas and Judge Pillard seem to be focusing on
 14     is this just -- and there is some legislative history early on
 15     that supports this view that this really was a trespass statute
 16     or an analogous to -- we didn't want to rely on DC trespass law
 17     and wanted to be able to provide some other mechanism. But the
 18     felony provision suggests this is a very different sort of law
 19     now.
 20                  MR. ROSEN: May I respond to that?
 21                  THE COURT: Yes, of course. That is why I asked.
 22                  MR. ROSEN: Respectfully, I disagree. So I think one
 23     thing to step back, I think Feola, obviously, as Judge Cooper
 24     did and as we have in our briefing, you know, Feola is sort of
 25     the guiding light in terms of how we analyze a lot of these
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  1     issues. And Feola remains good law by the Supreme Court in the
  2     same context, which by the way, was a felony assault statute.
  3     So I am not sure --
  4                  THE COURT: But it was a felony assault statute from
  5     the --
  6                  MR. ROSEN: From the beginning.
  7                  THE COURT: -- state analogue that they were looking
  8     at was also felony assault statutes and saying -- I mean, I do
  9     think that ultimately we all have to step back and say, what
 10     was Congress trying to do here and what was the purpose, right,
 11     of the statute? And there I think what the Supreme Court and
 12     the majority held was the purpose of the statute was to make
 13     sure that there was a federal forum and federal officials could
 14     bring a case where a federal official was attacked because we
 15     weren't entirely comfortable with leaving that to the states.
 16                  MR. ROSEN: So I think it is a little tautological in
 17     nature. Because when you start off for the '70s, for example,
 18     and you pass this statute, it is abundantly clear -- there is
 19     absolutely no reason to suggest otherwise that Congress
 20     intended to federalize what was otherwise a trespass statute.
 21                  THE COURT: Right.
 22                  MR. ROSEN: So I think there is -- really not a
 23     single judge disagrees with that presumption.
 24                  So then the question is sort of does it break clear
 25     to the point that then there is this, to use again the word,
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  1     reconceptualization of the statute such that it now undermines
  2     the presumption against the mens rea requirement to that
  3     federal protectee element.
  4                  THE COURT: Right.
  5                  MR. ROSEN: So, again, knowing that we have not fully
  6     briefed the B portion, the punishment portion --
  7                  THE COURT: Right.
  8                  MR. ROSEN: -- my response is still the same and here
  9     is why: So first of all, as we pointed out in Feola, the
 10     dissenters in Feola, as you know, were very much focused on the
 11     penalty structure.
 12                  THE COURT: Right.
 13                  MR. ROSEN: So what is pretty clear at least from
 14     Feola and its progeny is that certainly it is something that
 15     the Court can take into effect, but alone itself, the penalty
 16     structure or penalty provision shouldn't be what is guiding
 17     Congress' intent. Congress' intent should be guided by what
 18     the purpose of the original statute was.
 19                  THE COURT: Agreed, except drop the word original.
 20                  MR. ROSEN: So to address the hypothetical, which I
 21     think will hopefully guide the Court where the government
 22     thinks it should go, which is going back to the sort of the
 23     patchwork of the state law that was the focus of statute 111,
 24     graft that onto 1752. Imagine you're in a scenario -- and I
 25     brought this up, I think in the Middleton case, imagine you are
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  1     at the vice president's residence, Naval Observatory. If you
  2     could put a number of how many Americans know the vice
  3     president lives at the Naval Observatory -- I don't have a
  4     number to give you, but it is certainly not 100 percent. There
  5     is certainly many people within the United States that do not
  6     know the Naval Observatory is where the vice president of the
  7     United States lives.
  8                  THE COURT: But if you drive by it, those signs and
  9     the presence there, it is -- there are few places on the face
 10     of the earth that are as clear that you are not allowed to
 11     enter.
 12                  MR. ROSEN: Which is an excellent point, because
 13     according to -- according to this analysis, if the sign says,
 14     keep out, you may not enter, barbed wire around, guns blazing,
 15     Secret Service officers walking around and you trespass into
 16     that area --
 17                  THE COURT: Yeah.
 18                  MR. ROSEN: -- according to the Groseclose analysis,
 19     or the -- sort of what defense might argue otherwise, that
 20     would not be a federal crime, because you didn't know --
 21     government would have the burden to prove that you knew it was
 22     the vice president. If I put on that sign the vice president
 23     is present or a protectee is present --
 24                  THE COURT: Right.
 25                  MR. ROSEN: -- that is what converts it now in terms
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  1     of knowledge and proving beyond a reasonable doubt, of course,
  2     to a core trier of fact that we have now sort of federalized
  3     it.
  4                  So take it to the felony example, if that person
  5     walks in with a gun to the Vice President of the United States
  6     where the vice president lives, no question there is risk, no
  7     question there is danger. The idea that could not be sort of
  8     federalized because the whole purpose is to avoid the patchwork
  9     of state laws, which by the way I don't know for sure, so I
 10     want to couch this -- I believe the possession of that unless
 11     you are a convicted felon would be misdemeanor under DC Code
 12     offense. The idea that Congress intended to protect people
 13     like the vice president is actually supported by our analysis.
 14     And if the linchpin of this is simply that if you put the words
 15     vice president on the sign, that you have sort of absolved the
 16     issue, that would be an absurd result that Congress never
 17     intended.
 18                  THE COURT: Why is that?
 19                  MR. ROSEN: Because Congress couldn't have intended
 20     that what would turn in terms of how far -- the criminality of
 21     someone's conduct, the snare of the unsuspecting whether a
 22     single sign says, by the way, there is a person here you should
 23     be aware of.
 24                  THE COURT: It goes to -- I am not saying this is
 25     necessarily the case. But it does go to how culpable someone
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  1     is. And if someone knew that it was the vice president's
  2     residence and they wandered in there, not necessarily with a
  3     gun but a pocketknife or something like that. If they knew
  4     that was the vice president's residence that is more culpable
  5     than if they were just taking a shortcut across that park and
  6     they saw there were some signs there but they thought --
  7                  MR. ROSEN: So --
  8                  THE COURT: -- I mean --
  9                  Go ahead.
 10                  MR. ROSEN: If I can respond. I think we are sort of
 11     focusing on the same thing, but different things. The
 12     culpability is the actus reus, which I would focus on is and
 13     what enhances the culpability is the possession of a dangerous
 14     weapon. The dangerous weapon is what enhances the penalty, not
 15     the knowledge of the person. So if Congress truly intended
 16     that the knowledge of the person presents more of a risk, than
 17     the not knowledge of the person, Congress could have written
 18     the statute that way. I mean, in 2012 they got rid of the word
 19     willfully from the statute.
 20                  THE COURT: But there are times in which possession
 21     of the dangerous weapon will not indicate any culpability at
 22     all.
 23                  MR. ROSEN: Correct.
 24                  THE COURT: So the person who is at the Iowa Fair,
 25     and you are allowed to possess a gun in Iowa and you have got a
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  1     gun strapped to your side. I don't know whether you are
  2     allowed to have it at the Fair or not. But you walk across the
  3     parking lot at the Iowa Fair where there is a sign that says do
  4     not enter, you have no idea the reason it says do not enter is
  5     the vice president's helicopter is going to be landing there in
  6     10 minutes.
  7                  MR. ROSEN: So my response to that that would hit the
  8     nail on the head as to exactly why Congress passed the statute
  9     in the first place and continues to enhance the penalties or to
 10     change the structure, which remains to create this avoidance of
 11     patchwork. So if we didn't have the statute, use the Iowa
 12     example, I don't know what Iowa's possession laws are. And I
 13     don't know what Iowa's possession laws are vis-a-vis restricted
 14     areas.
 15                  THE COURT: I don't either.
 16                  MR. ROSEN: There are certainly trespass laws in
 17     every 50 states. So you can't trespass into an area.
 18                  THE COURT: Right.
 19                  MR. ROSEN: But Congress made the decision and the
 20     intent that is driving Congress' decision is not whether one
 21     possesses knowledge of a certain person. They want to make
 22     sure that every protectee of the US Secret Service is in a
 23     place where the government can appropriately prosecute someone,
 24     assuming they have the requisite mens rea. So if you don't
 25     have this statute and you don't have this coming in as a
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  1     federal protectee requirement in the way that it is a
  2     jurisdictional element, what you have is you are relying then
  3     on local states and local jurisdictions with a variety and
  4     degree of different laws that carry a variety and degree of
  5     different mens reas to prosecute people in a variety of
  6     different ways which can include felony and misdemeanor
  7     provisions. That can't be what Congress had intended in the
  8     '70s. It can't be when they reconceptualized the statute in
  9     2006. And it can't be in 2012 when they got rid of the word
 10     willfully. Congress clearly -- we can make jokes sort of about
 11     the political process, but Congress knows how to write a
 12     statute. And sometimes they write it better than others. But
 13     in this case, we submit that the additional in (c)(2) where it
 14     extends to the definition of the restricted area, that is the
 15     restricted area trying to ground itself in a federal protectee
 16     jurisdictional element. Not that a person must know all of the
 17     way through. Because I think it raises -- we have countered
 18     with, obviously, our sort of absurd result response in your
 19     brief.
 20                  THE COURT: But by your same reasoning then, you
 21     might also conclude that the knowledge requirement doesn't
 22     apply to posted or cordoned off. Because it may be that as a
 23     matter of state law and there may be a legitimate interest that
 24     you don't want someone wandering into where the vice president
 25     is going to be. And if it is, you know, whether it is cordoned
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  1     off or not, if it is private property in some way and you
  2     wander onto it, why not be subject to prosecution? Why does
  3     your rationale say, knowingly applies to posted, but doesn't
  4     apply to where the protected person will be?
  5                  MR. ROSEN: Because -- and I know we are sort of
  6     inverting it. We are sort of going back to what I would call
  7     the Elizalde framework. But if you look at the way the statute
  8     is structured (c)(1) says term restricted building or grounds
  9     means any posted, cordoned or otherwise restricted area. So as
 10     a matter of law, that is the definitional subsection that we
 11     have consistently argued knowingly has to reach to. We don't
 12     disagree that knowingly has to travel into there.
 13                  THE COURT: Right.
 14                  MR. ROSEN: The problem is what is (a), (b) and (c)
 15     and what are they doing? What they are doing is explaining the
 16     federal interest in three different categories. They are not
 17     explaining the knowledge requirement that must flow throughout.
 18                  THE COURT: But if what you have just said is right,
 19     then you're the one who is saying that Congress fundamentally
 20     reconceived the statute in 2012. Because before 2012, the "of"
 21     paragraphs were actually in the text -- the same text as the
 22     cordoned off photograph. And it wasn't broken out until 2012.
 23                  MR. ROSEN: So I am not sure -- I am not sure I --
 24     well, if that is what I am saying that is -- I don't think the
 25     reconceptualization of the statute turns on whether or not
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  1     there is a restructuring of the statute. It is what it is
  2     restructuring to. So nothing really changes in 2012 other than
  3     it sort of breaks it out and lays it out in a more cohesive
  4     format and it removes the word willfully. And so it actually
  5     decreases the mens rea required in 2012. So in terms of what
  6     (c)(1) is doing, the jurisdictional element had already sort of
  7     been there. It just sort of separated it out.
  8                  THE COURT: But if you look at the version just
  9     before 2012, I guess it is the 2006 version of the statute, it
 10     said that it is a crime to knowingly enter or remain in a
 11     posted, cordoned off or otherwise restricted area of a building
 12     or grounds where the president or other person protected by the
 13     Secret Service is or will be temporarily visiting. It is all
 14     in a single clause there. So, I mean, if we were reading the
 15     statute back then, we would have to break that sentence down
 16     into different subparts.
 17                  MR. ROSEN: So, no, I don't think that is correct and
 18     here is why. Because I think what we are talking about --
 19     there are two different analyses that we briefed. And there
 20     are two different responses to both Elizalde and Groseclose.
 21     Because Elizalde never focused on jurisdiction. And having
 22     been at the Griffon argument, there really even wasn't a
 23     meaningful discussion about jurisdiction. And we can sort of
 24     go around in terms of, you know, whether that should have been
 25     raised in an earlier capacity. And certainly we'll see what
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  1     Griffon says. I can certainly represent that 28J letters that
  2     have been submitted to the Court talk exactly about this. So
  3     what I guess, I would respond to is, it doesn't matter what the
  4     structure is, unless you are in the Elizalde world and you are
  5     really trying to sort of understand Congress' intent in this
  6     abstract capacity.
  7                  But if you find that it is a jurisdictional element,
  8     which you do regardless of whether or not there is comma or a
  9     clause in the same way, for example, that interstate commerce
 10     in 922(g) for the purpose of 924(c) the Rehaif analysis carries
 11     a similar sort of legal weight. So on the Groseclose point, on
 12     the jurisdictional point, it didn't reconceptualize the
 13     statute. That element is still in there. It still remains a
 14     jurisdictional statute. The question that Judge Cooper asked,
 15     which we have now answered and we think in the negative is
 16     whether or not these tinkerings of the statute undermine the
 17     presumption that mens rea should not apply. So we have,
 18     obviously, addressed the 6-month versus 12-month, you know,
 19     difference in terms of penalty. Your Honor has raised
 20     obviously the felony.
 21                  THE COURT: Right.
 22                  MR. ROSEN: But my response to the felony is the
 23     reason it doesn't change is because the culpability doesn't
 24     turn on knowledge. The culpability turns on a weapon. So that
 25     is what Congress is intending to punish, because that is the
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  1     risk to the protectees. The risk to the protectee is that if
  2     you engage in -- if you look at the second one, which is
  3     significant body injury. Obviously if you engage in
  4     significant bodily injury, there is not a knowing requirement
  5     that is going to attach to that. The purpose of that
  6     additional element is to ensure that when and if someone
  7     illegally trespasses and we can prove the illegal trespass, if
  8     they then also result in some sort of damage to the person or
  9     damage to another person, we would like to punish that more
 10     harshly. That makes sense.
 11                  THE COURT: So I realize that hypotheticals,
 12     particularly unusual hypotheticals only get you so far. But
 13     what about my hypothetical the Iowa Fair? My truck is parked
 14     in a parking lot. I come back. The parking lot has now been
 15     cordoned off. There is -- I want to go home. There is now a
 16     snow fence or whatever it is around the parking lot. I can't
 17     get to my darn truck. I am like, you know, understandably
 18     annoyed. I say, baloney. I hop over the fence, get in my
 19     truck, start speeding away. Some other knucklehead has done
 20     the same thing I have done. That person is speeding away in
 21     their truck and rams into me in the process of doing it. And
 22     that person is actually seriously injured. As a result of my
 23     trespass, it resulted in serious bodily injury to another
 24     person. Because I wouldn't have been driving my truck down
 25     that road if it wasn't for my trespassing there.
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  1                  And do we really think that under the circumstances
  2     Congress, where I had no idea that the vice president was
  3     getting ready to land in his helicopter there, Congress would
  4     have intended, yes, it should be up to 10 years in prison for
  5     that.
  6                  MR. ROSEN: The answer is yes, but not for the
  7     reasons -- judges certainly do not like when the government
  8     says trust us, prosecutorial discretion.
  9                  THE COURT: Right.
 10                  MR. ROSEN: But I do think it is important to step
 11     back and look at the forest from the trees. There are two
 12     problems with that hypothetical. The first is a factual one.
 13     The government still has to prove knowing trespass. So I
 14     assume for the hypothetical that the person realized, this was
 15     a legitimate, cordoned off area and said --
 16                  THE COURT: Do not cross this line.
 17                  MR. ROSEN: -- I don't care. I am going anyway. I
 18     want my property back. I want my car back.
 19                  THE COURT: Right.
 20                  MR. ROSEN: Assuming we can prove that, which I do
 21     candidly think has its own sort of factual problems in terms of
 22     a presentation to a trier of fact and the reasonable inferences
 23     one can make. That being said, the other problem with it is I
 24     do think you have an issue with the nexus to the offense
 25     results in. I think that there clearly has to be some nexus
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  1     that the trespass and the ongoing trespass is what results or
  2     sort of cabins the enhanced penalty. So in your hypothetical,
  3     if the person trespassed and during the course of the trespass,
  4     an agent tried to -- I mean, this would be a 111. Someone
  5     tried to go over to them and say, no, no, no, this is a
  6     restricted area. And they wallop them in the face and broke
  7     their jaw, yes, I do think it would apply regardless of whether
  8     or not the knowledge was met.
  9                  But in the hypothetical you posed, I don't think it
 10     would -- I don't necessarily think that it would carry over if
 11     someone during the course of fleeing or obstructing law
 12     enforcement, there was a car cash that resulted by proximate
 13     cause in serious bodily injury. So, no, I think Congress would
 14     have intended the latter to apply, maybe not the former as a
 15     factual matter. And maybe Your Honor knows this, the
 16     hypotheticals -- you know, I love the hypotheticals.
 17                  THE COURT: I understand.
 18                  MR. ROSEN: But I am wary to go down that route,
 19     particularly in the felony context because we are not talking
 20     about a felony here. What we are talking about is the
 21     knowledge for the -- what we'll call the general trespass. So
 22     in order to evaluate the reconceptualization of the statute, we
 23     still need to cabin the analysis to what 1752(a)(1) and its
 24     subsequent penalties for this case carry.
 25                  I understand your response to me is, no, there is
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  1     this (b). What do I do with (b)? And I don't think you need
  2     to do anything in this instance.
  3                  What I will say though for what it is worth, just so
  4     the record is clear, I think we put this in our brief. There
  5     are references -- and Mr. Ross and Ms. Levine can certainly
  6     argue factual inference as to the knowledge of the vice
  7     president in any event. So I know one of the questions coming
  8     here and one question that you posed in the Middleton case is,
  9     do I need to decide this now?
 10                  THE COURT: Right.
 11                  MR. ROSEN: We think in some ways you do, because we
 12     do believe that the obligation is to get the law right. We do
 13     believe we are on the right side of the law. If the Court
 14     disagrees, obviously the Court disagrees.
 15                  But to the extent that the Court is also going to
 16     separately find that the defendant had knowledge of the vice
 17     president, you know, that is sort of one way of, as judges have
 18     done, sort of postponing the inevitable waiting for Griffon.
 19     Obviously, to the extent that Griffon comes about, we will have
 20     to -- if it is an adverse decision to the government, we will
 21     have to exercise and review our appellate options. But one
 22     sort of unfortunate thing that Griffon --
 23                  THE COURT: I am trying to think of what your
 24     appellate options would be. What would your appellate options
 25     be? So let's say I disagree with you and I rule as a matter of
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  1     law at a bench trial that the scienter requirement -- that
  2     there is a scienter requirement. And I hold that the
  3     government has not met its burden of proof with respect to the
  4     scienter requirement. Is that an appealable order?
  5                  MR. ROSEN: No.
  6                  THE COURT: So the only way this could ever go to the
  7     Court of Appeals is if I ruled the other way; right?
  8                  MR. ROSEN: No. I was actually referring to Griffon.
  9                  THE COURT: You would petition for cert?
 10                  MR. ROSEN: If Griffon comes down in an adverse way
 11     to the government, which I don't believe it should. But I also
 12     admit that Griffon didn't touch upon what we think is, for lack
 13     of a better word, the winning argument. So I don't know if it
 14     will be the be all end all that resolves all of the issues.
 15     But I know some judges have said -- even Judge Cobb ruled
 16     against us in the Samsel case, but in a subsequent case, Judge
 17     Cobb said this is a really interesting issue, I don't know
 18     where my head is at.
 19                  THE COURT: That is essentially what I said in
 20     Middleton, I think.
 21                  MR. ROSEN: Judge Lamberth is the original judge to
 22     rule on this, but did not write an opinion on it. Judge
 23     Lamberth in the most recent case that is going on in United
 24     States versus Glenn Brooks also opined that he would -- we
 25     expect to get guidance at some point from the Circuit. I am
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  1     not sure the Circuit is actually necessarily going to decide
  2     the issue one way or the other. But the government would
  3     submit that upon further review of what is now a fulsome
  4     briefing. If the Court disagrees with us on the jurisdictional
  5     point, I am not sure there is anything that I can in writing
  6     argue or say that is going to convince you otherwise.
  7                  THE COURT: Fair enough. In Griffon were there other
  8     grounds for the court -- where they might not have to reach the
  9     issue if they rule on other grounds?
 10                  MR. ROSEN: Yes. So that was the alternative too is
 11     that there was a sort of robust discussion about the fact that
 12     we believed we could prove the presence of the vice president
 13     and the knowledge of the vice president anyway. And, of
 14     course, there is this unique aspect which we all don't talk
 15     about, because it is a unique sort of function of the statute.
 16     But it is not simply that the vice president is there. It is
 17     or will be visiting.
 18                  THE COURT: I know.
 19                  MR. ROSEN: So one thing I think is very interesting
 20     is during the Griffon argument Judge Katsas said when he was
 21     questioning I believe government counsel, something to the
 22     effect of, didn't everybody know Pence was there? And in some
 23     ways, yes. In other ways, we still have a burden of proof of
 24     showing that.
 25                  THE COURT: Correct.
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  1                  MR. ROSEN: And judges have been at least from our
  2     experience unwilling to make what we consider a more reasonable
  3     inference of not only the nexus to the vice president, being at
  4     congress, but also expanding that congress when they wrote the
  5     statute didn't just intend if you go down the knowledge
  6     requirement.
  7                  THE COURT: Right.
  8                  MR. ROSEN: It is not just about -- and you disagree
  9     with us. It is not just about if he is there at that time. It
 10     is, will he also be visiting? So it is a really expansive mens
 11     rea that I don't think has gotten fully fleshed out. But that
 12     is also because we don't think we need to get there.
 13                  THE COURT: This is partially also in the
 14     government's hands going forward too, in that I think and I
 15     would have to go back and check to make sure I am right about
 16     this -- but I think for anybody who was present at the Ellipse,
 17     the speeches, including Rudy Giuliani's speech, talked about
 18     the fact that the vice president was going to be at the
 19     Capitol. So all the government has to do is introduce that
 20     into evidence, which it hasn't done -- at least in this case,
 21     didn't do.
 22                  MR. ROSEN: So I think -- and this goes to the
 23     difficulties that are presented, which is, sure, if I can show
 24     the person was at the speech.
 25                  THE COURT: The opening argument in the case that is
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  1     what the defense said in this case as their opening argument.
  2                  MR. ROSEN: So for what it is worth -- I am here on
  3     the legal issue, not the facts.
  4                  THE COURT: Fair enough.
  5                  MR. ROSEN: To answer that, if someone was at the
  6     speech and heard the speech, then, yes, that is an important
  7     key factor for the Court to conclude that, of course, a person
  8     knew the Vice President of the United States was there.
  9                  THE COURT: Right.
 10                  MR. ROSEN: That being said, we have had this
 11     argument, which is the government still has this burden to
 12     produce that evidence. And if we can show it through video
 13     obviously we would and we would have. So in the absence of
 14     that evidence, the real question, the rub as we come down to is
 15     whether or not Congress truly intended this to turn on I know
 16     that Mike Pence will or was there or is going to be there. And
 17     we just think, respectfully, that cannot be the case.
 18                  THE COURT: Okay. Fair enough. So I will give you a
 19     chance for reply. Let me hear from the defense.
 20                  MR. ROSEN: Thank you.
 21                  MR. SABATINI: Just going to keep it somewhat brief,
 22     Your Honor. You have read all of the cases, you know the
 23     opinions that we have relied on. My brief is very short. We
 24     believe that the analysis that they used was pretty much
 25     correct. So I would really rather explore your hypotheticals,
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  1     which I think are instructive and definitely show the potential
  2     and the meaning of the statute, but also how often this
  3     occurrence is probably going to be if Griffon goes, in our
  4     opinion, the wrong way. Which is, we live now in 24-hour
  5     political season. There is protectees all over the place. An
  6     Iowa Fair I think is actually just one of many examples where
  7     there is going to be large rallies and speeches in the
  8     hyper-political culture where people can go to them and
  9     incidentally become victim. I think that is going to happen
 10     more and more. I don't think that was exactly the case with --
 11                  THE COURT: I wouldn't call people who are
 12     trespassing victims, but fair enough.
 13                  MR. SABATINI: But I would say -- but in your
 14     hypothetical you explained what I would consider almost like
 15     minor trespass, where the guys sees the tape line, my car is
 16     right here, not trying to break into a highly secured building,
 17     something like that. I think those occurrences are going to be
 18     something that you'll see more and more if the Court -- and so
 19     looking at --
 20                  THE COURT: I am not sure that factually is right
 21     that there are that many Secret Service protectees. The role
 22     of the Secret Service is fairly limited to the people who they
 23     are protecting. I don't think that has fundamentally changed
 24     over time. And maybe the political cycle is extending, but I
 25     think that the number of protectees -- I could be wrong about
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  1     this, but I am not sure that -- I don't think the Secret
  2     Service, for example, protects candidates until they are the
  3     nominee, unless they are the former -- in the case of President
  4     Trump they are already a protectee in any event. I don't
  5     think, for example, every candidate gets Secret Service
  6     protection.
  7                  MR. SABATINI: Sure, Your Honor. The hypothetical
  8     definitely shows the risk of abuse in limiting the mens rea
  9     would actually get to. And that is what animates the argument
 10     is that the rights of the defendants to, you know, have the
 11     government held to a standard in which they have to prove pure
 12     knowledge of, you know, each element. And the government's
 13     reading of the statute limits that to the point where it goes
 14     against the rights of the defendant and that is how we
 15     interpret it.
 16                  THE COURT: The rights of the defendant, I mean that
 17     does -- that raises the argument though as to whether it is
 18     innocent behavior or not. If someone is engaged in unlawful
 19     behavior, at least the Supreme Court seems much less concerned
 20     about, they know they are doing something they are not supposed
 21     to be doing. And, you know, at least with respect to the pure
 22     trespass provisions of this, maybe it goes from a 6-month crime
 23     to a 12-month crime in DC where it would be 6 months -- at risk
 24     for 6 months. You are probably not likely, frankly, under DC
 25     law or under federal law to get anything close to 12 months or
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  1     6 months, you know, if you step across a barrier and don't do
  2     anything else that is wrong and then step back across the
  3     barrier.
  4                  You know, my hypothetical, get your car and drive
  5     away, one, you might not be prosecuted at all. But, two, it is
  6     highly unlikely you are going to get 6 months or even a year in
  7     jail for having done that. But you are knowingly violating the
  8     law when you step over the line that says you may not cross
  9     this line.
 10                  MR. SABATINI: That is true, Your Honor.
 11                  But we would argue that another important
 12     consideration and interpretation of the statute is that, you
 13     know, interpreting it the way that the defendant suggests that
 14     we suggest, it creates a harsher penalty for those who have
 15     knowledge of the Secret Service protectee, puts them in a
 16     worse, more harsh position. So, therefore, it is more of a
 17     deterrent. It has a purpose-driven structure there where if
 18     somebody knows that Mike Pence is in the building, that person
 19     should be dealt with harsher. So there is an internal logic
 20     there I think should be upheld. So for them to trespass, they
 21     should be treated differently than those who are unknowing.
 22                  THE COURT: Let me ask you, in 2012 when Congress
 23     adopted the current version, the legislative history of that
 24     change where they adopted the current structure -- and this is
 25     not the legislative history that Judge Cooper is relying on of
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  1     going from 6 to 12 months, but just the current structure. In
  2     the report Congress says, there is no federal law that
  3     expressly prohibits unlawful entry to the White House and the
  4     grounds or the vice president's residence and its grounds. The
  5     Secret Service must therefore rely upon the provisions of the
  6     D.C. Code, which address only minor misdemeanor infractions
  7     when someone attempts to or unsuccessfully trespasses on the
  8     grounds of the White House or the vice president or residence
  9     or worse breaches the White House or the vice president's
 10     residence itself.
 11                  And that does sound more like the jurisdictional
 12     analysis. They are saying, we don't want to have to rely on DC
 13     law on this. We want to make sure there is a federal law that
 14     covers this.
 15                  MR. SABATINI: Your Honor, I will be completely
 16     frank, I mean, that is a very, very specific point. And in
 17     Groseclose, I have studied and we have done everything we could
 18     in the last 36 hours to look into the legislative history and
 19     make a counter-argument, but definitely not something that we
 20     were able to explore to the fullest extent, to be candid with
 21     you. The government has written such an in-depth analysis.
 22                  THE COURT: Fair enough.
 23                  So what is your position with respect to the original
 24     version of the statute, the 1971 or whatever it was version?
 25                  MR. SABATINI: I would argue that what was uttered in
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  1     Groseclose is correct that it took a massive substantive change
  2     in 2006 and, therefore, the statutes have changed and so
  3     therefore the mens rea should be approached differently than
  4     the original 1971 law.
  5                  THE COURT: And the massive change -- so you agree
  6     with Judge Cooper's analysis that you think goes from 6 months
  7     to 12 months that Congress actually consciously said to itself,
  8     okay, this isn't an element and we are now going to make it an
  9     element now because we are increasing the penalty?
 10                  MR. SABATINI: Well, I approached it more from a
 11     textualist viewpoint. But if I was going to look and decipher
 12     the intention of Congress, I would say that was pretty
 13     significant change considering they don't do that many criminal
 14     code revisions that often. So, obviously, there was some
 15     purposeful intention there to make it much more strict.
 16                  THE COURT: They said the purpose of it was to bring
 17     the penalty in line with 18 U.S.C. section 3056, which says
 18     that whoever knowingly, willfully obstructs, resists or
 19     interferes with a federal law enforcement agent engaged in the
 20     performance of the protective functions authorized by this
 21     section shall be imprisoned not more than a year.
 22                  Do you know if that provision includes a scienter
 23     requirement and whether under that provision the knowingly
 24     carries through to the fact that it is a federal law
 25     enforcement official engaged in a protected function?
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  1                  MR. SABATINI: I actually don't know, Your Honor. I
  2     would be happy to research it rather quickly. I am sure the
  3     government will have a chance to reply to that with an
  4     informative answer.
  5                  THE COURT: Anything else?
  6                  MR. SABATINI: No, Your Honor. Thank you very much.
  7                  THE COURT: All right. I am sure you have that
  8     question; right?
  9                  MR. ROSEN: I wish I did have an answer right now. I
 10     would rather -- if we are sort of approaching different
 11     statutes, you know, I always prefer to brief these issues a
 12     little more fulsomely.
 13                  THE COURT: But the government must have looked at
 14     that one given --
 15                  MR. ROSEN: Are you talking about in the context of a
 16     civil disorder.
 17                  THE COURT: The legislative history for the provision
 18     that Judge Cooper relies on, adding the 12 months instead of 6
 19     months says we are doing this to bring it in line with 3056.
 20     And my question was, what was the scienter requirement under
 21     3056, if you know?
 22                  MR. ROSEN: I don't. I can certainly find out, but I
 23     don't. What I'd say though is on that point, you know, the --
 24     so I have a couple of responses. On that point, the Feola
 25     dissenters are actually sort of the most illuminating in that.
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  1     Because, again, they focused on a year increase or I think it
  2     was multiple-year increase in terms of penalties. And even
  3     then, that was not what carried the day and still does not
  4     carry the day.
  5                  In terms of the defendant's arguments, there are two
  6     things I respond. In terms of the -- one aspect of the statute
  7     that we talk about is when we use these hypotheticals, we
  8     constantly sort of talk about fixed areas. But what was clear
  9     from the Griffon argument and it is also what is clear from the
 10     statute is it doesn't have to be fixed areas. So the idea is
 11     that Secret Service protectees are constantly moving around
 12     throughout United States.
 13                  THE COURT: Right.
 14                  MR. ROSEN: So, obviously, you are not going to move
 15     and have Secret Service agents around you in a circle, right,
 16     necessarily with a sign saying protectee person present. But
 17     they would still be protected under the function, which is that
 18     as they move from location to location to location, the Secret
 19     Service would be able to erect, with law enforcement, barriers
 20     or implements or obstructions or cordoned-off areas to restrict
 21     in order to protect the safety of that person. And so the --
 22     we constantly sort of focus on the hypotheticals of the fixed.
 23     It is fixed, right, because you are putting up a barrier. It
 24     doesn't have to be fixed. Because if you look at the language,
 25     the language says -- is quite broad; right? It says, the term
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  1     restricted building or grounds means any posted, cordoned off
  2     or otherwise restricted area. I feel like we are arguing in
  3     the Supreme Court relating to Fischer otherwise. What does
  4     otherwise mean in that capacity? And it can mean certainly the
  5     same, but it usually means distinct and different. Because
  6     otherwise what is the word otherwise doing there? Otherwise
  7     doing is to say there is a wide variety of ways that one can
  8     restrict an area. So it does not have to be -- you could have
  9     a person walking by in a line where Secret Service are saying,
 10     this is restricted, this is restricted, this is restricted. If
 11     you breach that area, you have now committed a crime.
 12                  If the sole difference from a jurisdictional element
 13     perspective is, this is restricted, this is restricted, because
 14     the guy behind me is the Vice President of the United States,
 15     then that is the absurd result that we are essentially arguing.
 16     That is why knowledge we don't think carries the weight that
 17     defense counsel thinks it does.
 18                  So, you know, I -- the hypotheticals sort of go both
 19     ways.
 20                  THE COURT: It strikes me that analysis kinds of cuts
 21     both ways in that it just increases the likelihood that someone
 22     is going to innocently find themselves in violation of federal
 23     statute. So they are at the airport. There is a lounge.
 24     There is a sign that says, lounge closed, do not enter. I am a
 25     member of the United First Club. I am going in. You walk into
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  1     the lounge. It turns out the vice president is in there, bam,
  2     you know, you have now committed a federal crime.
  3                  MR. ROSEN: So, again, in that instance you committed
  4     a federal misdemeanor.
  5                  THE COURT: Right.
  6                  MR. ROSEN: You committed a federal misdemeanor,
  7     because the purpose again was not to -- the purpose and
  8     Congress' focus is on the protectee, not the defendant. The
  9     defendant comes in whether to again, snare the unsuspecting.
 10     So that person, assuming we can prove it, already committed a
 11     trespass. That is the rub. They already committed a trespass.
 12     And the question is, who are we protecting here? Are we
 13     protecting the United Flyers' Club or are we protecting the
 14     United States Secret Service protectee?
 15                  The last thing I wanted to respond to was what I
 16     think is somewhat of a -- it was a casual comment and it was
 17     something that was embedded in Judge Nichols' analysis, which
 18     has to do with risk. And I think that is actually a little bit
 19     of a misplaced argument.
 20                  Because if you take Mr. Sabatini's response that a
 21     person who knows that the vice president is there represents
 22     more of a risk. How so?
 23                  It actually -- when you -- we had included this in
 24     our original briefing. I think it is in a footnote. But that
 25     is actually not clear at all. So if we are truly resting on a
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  1     risk analysis --
  2                  THE COURT: Right.
  3                  MR. ROSEN: -- then you are in the world of
  4     hypotheticals that cut a thousand different ways. Because a
  5     person that goes into an area they are not supposed to, that is
  6     a risk. A person who goes in knowing that somebody is not
  7     there, they thought, for example, the Speaker of the House at
  8     the time, January 6, 2021, Nancy Pelosi was going to be there.
  9     That is who they really represented the risk to. But it turns
 10     out, she is not a protectee of the US Secret Service. Instead,
 11     Vice President Pence is. So does the knowledge that there is a
 12     different important person really turn on whether they truly
 13     represent a risk in that moment? Well, maybe, maybe not. That
 14     cannot be what Congress intended for the patchwork to address.
 15                  THE COURT: Let me ask you one final question, which
 16     is --
 17                  MR. ROSEN: Sure.
 18                  THE COURT: I puzzle a little bit over what we mean
 19     when we say the condition is a jurisdictional one or the
 20     element is a jurisdictional one. And in one sense, in some
 21     contexts, it is pretty easy to understand what that means.
 22     Where, you know, the gun has to have traveled interstate
 23     commerce. It is pretty clear that Congress wants to regulate
 24     guns but it needs authority to do so. And the only way it can
 25     do so is by adding the condition it traveled in interstate
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  1     commerce. There also may be circumstances or use of the word
  2     jurisdictional where the federal government doesn't have
  3     authority to adopt a general trespass statute. But on federal
  4     property, you can do it or where there is a federal protectee,
  5     because it relates to a significant governmental interest in
  6     protecting that person. So you can do it there. But it is a
  7     question of where the Congress powers comes to.
  8                  There is another way of thinking of it, I suppose, as
  9     jurisdictional which may be a little closer to what was at
 10     issue in Feola, which is we are not so focused on whether there
 11     is government federal power to regulate on needing a hook -- a
 12     constitutional hook for constitutional jurisdiction. But we
 13     want it to be with something that is within federal authority
 14     to decide how to apply this law, because we may not entirely
 15     trust the state officials to apply it with the same vigor that
 16     the federal officials would apply it to. And maybe there are
 17     other visions of what it means to be jurisdictional in nature.
 18     And I am curious as to in what sense you -- whether, one, your
 19     arguments turns on the federal protectee status being not
 20     subject to the scienter requirement, to the extent that turns
 21     on it being jurisdictional. In what sense do you mean it is
 22     jurisdictional?
 23                  MR. ROSEN: If you read Feola -- Feola is often
 24     interesting because there is a little circular logic going on
 25     there. Because I think I can answer the Court's question by
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  1     using Feola as the example.
  2                  THE COURT: Okay.
  3                  MR. ROSEN: Because in Feola, there were dual
  4     purposes and the Court acknowledged there were dual purposes.
  5     There was an anti-obstruction statute, but there was also a
  6     hook to get in. As long as there was a hook to get in, the
  7     scienter did not extend. There can be reasons in the 1752
  8     context, for example, originally to avoid the patchwork, which
  9     we think exists to this day, but also to ensure the federal
 10     government's authority or power over protecting its
 11     individual -- some anti-obstruction statute akin to 3056,
 12     which, again, I didn't know the mens rea that attaches to that.
 13     But you can have dual purposes. You can have multiple
 14     purposes, so long as one aspect of it was that Congress
 15     intended to essentially federalize this. And I think Your
 16     Honor hit the nail on the head, which is the entire purpose of
 17     this is to protect a certain subset of people. And those
 18     people are the ones that fall under the purview of what would
 19     traditionally be a federal function that is necessary and
 20     proper to essentially protect. And so to go back to the
 21     colloquy with opposing counsel, you know at the end of the day,
 22     if you are really deciding whether you are reconceptualizing
 23     the statute by changing the penalties, that alone doesn't swing
 24     if you look at Feola.
 25                  Certainly the sentencing guidelines assessment -- we
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  1     appreciate where Judge Cooper is coming from but the sentencing
  2     guidelines assessment -- it is a statutory body that just
  3     changes. So, of course, there is the placement of the
  4     jurisdictional element and where it gets moved, whether it is
  5     2006 or 2012. But it doesn't change the essence that is still
  6     jurisdictional in nature and otherwise it has some purpose to
  7     bring this across the board.
  8                  THE COURT: To bring it within federal purview?
  9                  MR. ROSEN: Yes.
 10                  THE COURT: So that is the way you are using it. And
 11     even though I said that was my final question, last time when
 12     you were here in Middleton, I asked you about special event of
 13     national significance. Anything new on that? I think at that
 14     time you said, to your knowledge, it wasn't something that was
 15     typically used and you weren't quite sure what it meant.
 16                  MR. ROSEN: So we think we know what it means, there
 17     is not a lot of case law on it. It is supposed to be for the
 18     Democratic National Convention or the Republican National
 19     Convention. It is supposed to be where there are high
 20     dignitaries, because there might not be one specific person
 21     there who sort of represents the entire Secret Service
 22     protectee environment, but has some federal interest. So the
 23     designation process is sort of I think what Your Honor was
 24     asking about last time. That is still not very well known to
 25     me. So I don't want to opine on how one gets designated as a
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  1     national security event or an NSSE, but we have not alleged
  2     that it is --
  3                  THE COURT: But is there any procedure or regulation
  4     that deals with what that means or how it applies?
  5                  MR. ROSEN: So I believe there is a cross-reference
  6     to the Code of Federal Regulations, but I need to go back and
  7     look at that.
  8                  THE COURT: Okay.
  9                  MR. ROSEN: So there is a process, but it was a
 10     process that did not happen on January 6.
 11                  THE COURT: So though if a member of the press corps
 12     doesn't get credentials to get into one of the conventions and
 13     they sneak into the convention, they violated the statute
 14     potentially?
 15                  MR. ROSEN: The answer, I don't know.
 16                  THE COURT: Okay.
 17                  MR. ROSEN: I think it is more of -- to answer more
 18     broadly, I think it is a general trespass statute when the
 19     Secret Service designates this thing as an important event.
 20                  THE COURT: I see. I got it now. Give me one
 21     second.
 22                  All right. Thank you very much. And anything else,
 23     Mr. Sabatini, you want to add before we adjourn?
 24                  MR. SABATINI: You had a question about the 3056, was
 25     it --
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  1                  THE COURT: Come on up.
  2                  MR. SABATINI: Oh, sure.
  3                  Judge Cooper pointed out in Groseclose, it is
  4     knowingly and willfully obstruct, resist, interfere with a
  5     federal law enforcement officer. That is what they brought it
  6     in line with.
  7                  THE COURT: Right. But my recollection is that Judge
  8     Cooper said that the knowingly didn't travel in that statute,
  9     but he didn't cite anything in support of that, which is what
 10     got me thinking, what is the basis for that?
 11                  MR. SABATINI: Understood. I thought you just wanted
 12     which elements read off to you. But in terms of going into
 13     case cites, I can do that and see if it was still upheld. It
 14     seems like it would be, the person would know that -- you would
 15     have to prove that they know it was a Secret Service agent,
 16     otherwise you could obstruct anyone walking on the sidewalk.
 17                  THE COURT: All right. Well, if there is anything
 18     that anyone wants to send to me, I guess, before 2:00, you want
 19     me to look at, I am happy to do it.
 20                  MR. SABATINI: Thank you, Your Honor.
 21                  MR. ROSEN: Your Honor, I will say, we will certainly
 22     try. I have childcare pick up on a half day, so I am not sure
 23     that --
 24                  THE COURT: This issue has been very well vetted, I
 25     just didn't want to shut anybody off. I am not urging anything
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  1     at this point.
  2                  MR. ROSEN: I appreciate that.
  3                  THE COURT: Thank you all. This is enlightening. I
  4     will see you all back --
  5                  Is it 2:00, we are coming back, Glenda?
  6                  THE COURTROOM DEPUTY: Yes, Your Honor.
  7                  THE COURT: I will see you all back at 2:00.
  8                  (Recess taken at 12:14 p.m.)
  9                  THE COURTROOM DEPUTY: Criminal case 23-71, United
 10     States of America versus Bryan Shawn Smith.
 11                  Would counsel please approach the podium, state their
 12     name for the record, starting with government counsel.
 13                  MR. ROSS: Eli Ross and Sarah Levine on behalf of the
 14     United States.
 15                  THE COURT: Good afternoon to you.
 16                  MR. PIERCE: Good afternoon, Your Honor. John
 17     Pierce, Roger Roots and Anthony Sabatini on behalf of
 18     defendant, Bryan Smith, who is present. We also have Emily
 19     Lambert, our paralegal at counsel table.
 20                  THE COURT: All right. Good afternoon to all of you
 21     as well.
 22                  And to start, you have my apologies for keeping you
 23     waiting. I am sure that you are all anxious to get my verdict.
 24     I just wanted to make sure that I gave complete consideration
 25     to the parties' arguments with respect to the scienter issue.
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  1     And there was a couple of issues that I felt like I needed to
  2     go back and look at in light of the arguments, so that is why
  3     it took me a little longer and I'm sorry for that.
  4                  So I am prepared to deliver my verdict now. My
  5     findings are all based on the beyond a reasonable doubt
  6     standard that applies in this case. I start off with some
  7     background material, which doesn't really go to the ultimate
  8     issues in the case and then I will turn to the ultimate issues
  9     count by count.
 10                  The defendant in the case, Bryan Shawn Smith,
 11     traveled from his home in Alabama to Washington, DC to hear
 12     then-President Trump speak and to participate in the March for
 13     Trump on January 6, 2021. From the Ellipse, as Mr. Smith's
 14     counsel has indicated, he made his way to the Capitol complex
 15     where he joined a crowd that was trying to force its way into
 16     the Capitol building. He spent over an hour on the Capitol
 17     grounds engaging with law enforcement officers on several
 18     separate occasions, which we have discussed at length.
 19                  First, there was the interaction on the police line
 20     on the west front of the Capitol. Then, there was the
 21     interaction at the southwest scaffolding. And, finally, the
 22     interaction at the inaugural tunnel entrancing also known as
 23     the tunnel.
 24                  As a result of this conduct, Mr. Smith is charged in
 25     a superseding indictment with seven offenses. First,
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  1     obstructing, impeding or interfering with a law enforcement
  2     officer during the commission of a civil disorder. Second,
  3     assaulting, resisting or impeding an officer with the intent to
  4     commit another felony or aiding and abetting someone else in
  5     doing so. Third, entering or remaining in a restricted
  6     building or grounds. Fourth, impeding or disrupting the
  7     orderly conduct of government business. Fifth, engaging in
  8     physical violence in a restricted building or grounds. Sixth,
  9     engaging in disorderly or disruptive conduct within the US
 10     Capitol building or grounds. And, seven, and finally, engaging
 11     in physical violence in the US Capitol building or grounds.
 12                  We held a three-day bench trial. And I am now
 13     prepared to give you my verdict with respect to each count.
 14     Let me start with Count 1 of the superseding indictment, which
 15     charges Mr. Smith with civil disorder in violation of 18 U.S.C.
 16     section 231(a)(3). To find the defendant guilty of the charged
 17     offense, the Court must find the government has proven the
 18     following elements beyond a reasonable doubt: First, that the
 19     defendant knowingly committed an act with the intended purpose
 20     of obstructing, impeding or interfering with one or more law
 21     enforcement officers. Second, at the time of the defendant's
 22     act, the law enforcement officer or officers were engaged in
 23     the lawful performance of their official duties incident to and
 24     during a civil disorder. And, third, that the civil disorder
 25     in any way or degree obstructed, delayed or adversely affected
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  1     commerce or the movement of an article or commodity in commerce
  2     or the conduct or performance of any federally protected
  3     function.
  4                  Just by way of background, the Court finds with
  5     respect to Count 1, that the events of January 6, 2021, at the
  6     Capitol did constitute a civil disorder as defined by the
  7     statute. 18 U.S.C. section 2321 defines the term civil
  8     disorder to mean any public disturbance involving acts of
  9     violence by groups of three or more persons which, A, causes an
 10     immediate danger of injury to another person; B, causes an
 11     immediate danger of damage to another individual's property; or
 12     three, results in injury to another person or; four or D,
 13     results in damage to another individual's property.
 14                  I don't think that one can credibly dispute that the
 15     events of January 6, 2021, involved more than three people.
 16     Nor can anyone credibly dispute that the crowd on January 6
 17     engaged in acts of violence that caused immediate danger of
 18     injury to others that, in fact, injured others and damaged
 19     property.
 20                  The government has introduced substantial evidence
 21     that show, in fact, all of the locations in which Mr. Smith can
 22     be seen that day at the Capitol during the riot. The Court was
 23     first shown evidence of Mr. Smith at the west front of the
 24     Capitol at approximately 2:10 p.m. where he was standing in
 25     front of a police line behind bicycle racks. And despite
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  1     instructions from the officers to the crowd to stay back and to
  2     leave, the crowd pushes forward against the officers, hitting
  3     officers violently with poles, engaging in violent interactions
  4     with the officers, throwing items at the officers, pushing and
  5     shoving the officers in an attempt to break through the police
  6     line. Among other evidence the Court relies on Government
  7     Exhibit 602E.
  8                  Then, after the crowd had broken through the first
  9     police line on the west front, Mr. Smith made his way to the
 10     southwest scaffolding where the crowd of rioters were engaging
 11     in acts of violence against the newly established police line.
 12     Rioters knocked over bike racks that the officers were using to
 13     maintain their -- the police line, struggled with officers to
 14     gain control of them. In fact, as Mr. Smith is standing in
 15     front of the scaffolding, rioters have knocked over the bike
 16     racks that were previously used to maintain the line and are
 17     swarming around the scaffolding. One rioter throws an object
 18     at the officers, which actually almost hits Mr. Smith. And I
 19     am relying there on Government Exhibit 604E, 708 and 707.
 20                  Eventually Mr. Smith climbs the southwest
 21     scaffolding. Although we don't see him go all of the way up
 22     the scaffolding, he does arrive at the lower west terrace and
 23     then the tunnel. At approximately 4:42 a group of rioters in
 24     the tunnel use what appears to be a flagpole or something like
 25     that to smash open the glass panes in a door in the tunnel.
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  1                  And there was testimony that that was the door that
  2     actually locked. And that is Exhibit 710A. Thereafter, a
  3     large groups of rioters pushed against the police officers
  4     repeatedly for at least 30 minutes. Sergeant Bogner testified
  5     that the pushing was very forceful and caused the officers to
  6     actually have difficulty breathing.
  7                  During this period, the rioters threw objects at the
  8     officers, discharged chemical sprays at them, used
  9     flagpole-like objects to hit the officers, pointed strobe
 10     lights in the officers' directions and engaged in threatening
 11     and violent behavior directed at the officers who were doing
 12     nothing more than guarding the entrance to the Capitol.
 13                  And the Court finds beyond a reasonable doubt that
 14     throughout the Capitol on January 6 the civil disorder took
 15     place including in each of the locations that Mr. Smith passed
 16     through that day. The rioters on the west front, the southwest
 17     scaffolding and the tunnel were engaged in acts of violence
 18     that both caused injury and threatened injury to others and
 19     also damaged a great deal of property.
 20                  So with this initial finding, the Court turns to
 21     other elements of the offense. The government argues that the
 22     evidence is sufficient to convict Mr. Smith of Count 1 under
 23     several possible theories. I don't need to reach all of those
 24     theories, because I am convinced that the government is correct
 25     with at least two of those theories and find that beyond a
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  1     reasonable doubt that Mr. Smith did commit the offense charged
  2     in Count 1 and is guilty of that charge.
  3                  The first theory that I want to discuss is
  4     Mr. Smith's actions at approximately 2:30 p.m. at the southwest
  5     scaffolding. At the southwest scaffolding, a group of police
  6     officers were trying to keep the rioters away from the
  7     scaffolding. They were attempting to maintain the police line,
  8     attempting to maintain something close to order. Although they
  9     were overwhelmed, the police officers had formed a police line
 10     and had moved bike racks to create a barrier. The officers
 11     were trying to keep rioters from getting near the scaffolding.
 12     Because as one officer testified, Officer Lombardy, the
 13     scaffolding itself could be used as a weapon. And because the
 14     scaffolding or the stairs under the scaffolding provided access
 15     to the lower west terrace and the officers were doing their
 16     best to keep the rioters back.
 17                  If rioters were able to access the lower west terrace
 18     en masse, before the officers were able to pull back to that
 19     area, Officer Lombardini testified, and the Court finds his
 20     testimony convincing, that they were concerned they would be
 21     encircled and extremely vulnerable, even more vulnerable than
 22     they were under the present circumstances. So they were
 23     desperate to keep, maintain that line and to keep people from
 24     encircling them.
 25                  At 2:30 p.m., Mr. Smith is in front of the
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  1     scaffolding next to a series of three doors that lead to the
  2     stairs to the lower west terrace. At that time, all three
  3     doors were initially closed. At approximately 2:31 another
  4     rioter, not Mr. Smith, opens the middle door to the
  5     scaffolding. Mr. Smith then runs over from where he was
  6     standing, leaning on the scaffolding looking behind at the
  7     officers who were doing their best to maintain control of the
  8     situation. And he comes over and an officer immediately tells
  9     Mr. Smith to get back. And you hear throughout the video, not
 10     just at this point, but repeatedly throughout, "Get back, get
 11     back, get back" over and over again. And the officer says
 12     directly to Mr. Smith "Get back" from the open doorway.
 13                  And then, Captain Augustine fairly quickly arrives
 14     over there and he is carrying with him a shoulder carried OC
 15     aerosol dispenser and he points it at Mr. Smith and he orders
 16     Mr. Smith to "Give us the door." And despite those clear
 17     instructions and directions that Mr. Smith should get back,
 18     Mr. Smith at least at first does not meaningfully step back or
 19     retreat from the door. He instead argues with the officer.
 20                  He says, "I am keeping them from coming in, you
 21     better not threaten me." And then as Mr. Smith is instructed
 22     yet again to get back, he holds open the door. And you see him
 23     leaning with his arm against the door, holding the door open
 24     despite those instructions. And while he is holding the door
 25     open and is being instructed to give us the door and to get
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  1     back, he says, "There is a fucking million and a half people
  2     behind me, you don't think I can come through that door?"
  3                  And then finally after approximately 30 seconds of
  4     Mr. Smith holding the door open arguing with Captain Augustine
  5     and the other officer, he eventually does step back and let the
  6     door swing shut.
  7                  I will say with respect to that, that it is true that
  8     at times Mr. Smith's voice is level, is not yelling, but there
  9     is a clear intensity and anger and threateningness to his
 10     posture, his tone and his words in his confrontation with the
 11     officer.
 12                  With respect to the first element, the Court finds
 13     that Mr. Smith took these actions. That is that he refused to
 14     follow the directions of the officers, held the door open and
 15     made a verbal threat to the officers with the intent to
 16     obstruct, impede or interfere with the officers' efforts to
 17     prevent the rioters from approaching the scaffolding and
 18     otherwise advancing further into the complex.
 19                  The conversation is not a conversation that Mr. Smith
 20     is having out of context. It is a conversation which is clear
 21     that Mr. Smith is indicating that he and others want to get
 22     through those doors. He is not simply -- he hasn't simply run
 23     into the officers on the street and is having a polite
 24     conversation with them. He, in an angry tone and in a
 25     threatening way, is confronting the officers. And the only
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  1     reason for holding the door open and the only reason for having
  2     those conversations is to try and convince the officers to back
  3     down.
  4                  And, in fact, as the OC spray gun is pointed at
  5     Mr. Smith, he actually orders directions at the officer and
  6     says, put it down, put that down. And I don't know in what
  7     world one thinks you get to tell a police officer who is in the
  8     middle of a riot that he should disarm himself under the
  9     circumstances. And I also have to say that it is my perception
 10     from those events that the reason that Mr. Smith eventually
 11     does give the police back the door and back away is because the
 12     other option he had would be to be sprayed in the face with OC
 13     spray. And he has an officer who is pointing an OC aerosol
 14     dispensing gun directly at him. And despite the fact that he
 15     is pointing this thing directly at him, Mr. Smith continues for
 16     some point in time continues to engage with an angry exchange
 17     with him and only eventually give in. And it seems to the
 18     Court that the only reason he gives in is because the officer
 19     is making a show of force under the circumstances.
 20                  Mr. Smith had been standing near the southwest
 21     scaffolding before engaging with Officer Augustine. In fact,
 22     he had stood immediately next to the door and peered through
 23     the scaffolding. He had seen the door was closed and the
 24     officers were trying to keep people from coming through that
 25     door and approaching the scaffolding.
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  1                  And it was clear that the area behind the scaffolding
  2     and underneath the scaffolding or behind the door and
  3     underneath the scaffolding was behind a police line and was in
  4     an area that the police were using to organize themselves to
  5     retreat, to bring the bicycles up the stairs to get out of the
  6     way. And it was essential to them to maintain the area. And
  7     despite having observed the officers' efforts to keep the
  8     rioters at a distance from the scaffolding, Mr. Smith did not
  9     follow the officers' instructions to keep away from the door
 10     and the scaffolding and instead held it open for some period of
 11     time and made verbal threats to the officer.
 12                  And I conclude that Mr. Smith did so with the intent
 13     to impede the officer's ability to subdue the rioters who were
 14     in front of the southwest scaffolding and to safely retreat to
 15     the lower west terrace.
 16                  I will also say that some of the questions asked at
 17     trial of -- I think it was of Captain Augustine, well, what
 18     else would you have been doing? And his answer, well, I don't
 19     know precisely what else I was doing, but that answer makes
 20     complete sense to me. There was a riot going on and he doesn't
 21     know which particular rioter he would be engaging with, but I
 22     have no doubt whatsoever that if he wasn't spending that time
 23     at that door arguing with Mr. Smith, he would have been doing
 24     something else to control this overwhelming riot. I mean,
 25     there were many, many, many more rioters than police officers.
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  1     The police officers were outnumbered. They were frightened.
  2     Their lives and well-being was at risk and they needed every
  3     resource they possibly had to protect themselves and to protect
  4     the Capitol. And any time that they spent arguing or engaging
  5     with belligerence was time they weren't able to spend
  6     organizing themselves and protecting fellow officers and
  7     protecting the Capitol.
  8                  Turning to the second element of Count 1, the Court
  9     finds that at the time of Mr. Smith's acts at the southwest
 10     scaffolding, law enforcement officers, including Captain
 11     Augustine, were engaged in the lawful performance of their
 12     duties incident to a civil disorder. As explained, the Court
 13     has already found that these events constituted a civil
 14     disorder. And in addition at approximately 2:30 p.m. when
 15     Mr. Smith was holding open the scaffolding door, the evidence
 16     shows that Captain Augustine and others at the southwest
 17     scaffolding were doing their absolute best to control a riot
 18     and to contain the rioters to prevent them from entering the
 19     scaffolding or climbing up the scaffolding. I think there is
 20     one point in time in which there is somebody who is right next
 21     to Mr. Smith who starts to climb up the scaffolding. And an
 22     officer comes over and bangs his baton. And that person jumps
 23     down from attempting to climb the scaffolding. And Mr. Smith's
 24     reaction to that is to step into that person's place, not to
 25     climb the scaffolding at that point, but to take the spot. He
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  1     knows what is going on. He knows what sort of civil disorder
  2     is taking place.
  3                  With respect to the third and final element of Count
  4     1, the civil disorder in any way or degree obstructed, delayed
  5     or adversely affected commerce or the movement of any article
  6     or commodity in commerce or the conduct or performance of any
  7     federally protected function. The Court finds that element is
  8     also satisfied. I know there was a fair amount of back and
  9     forth in the case with respect to the commerce element. But I
 10     don't even need to reach the commerce element, because I think
 11     federally protected function element is clearly satisfied. A
 12     federally protected function is defined in 18 U.S.C. section
 13     2332(3) to mean, "Any function, operation or action carried out
 14     under the laws of the United States by any department, agency
 15     or instrumentality of the United States or by an officer or
 16     employee thereof." And the term department includes the
 17     departments of the Executive Branch, such as the Department of
 18     Homeland Security which does include the Secret Service. And
 19     one of the Secret Service's statutory mandates is to protect
 20     the vice president and his family. And that function was
 21     adversely effected when the rioters breached the police line,
 22     were violent, broke into the Capitol.
 23                  Inspector Hawa from the Secret Service testified that
 24     Vice President Pence had to be evacuated from his ceremonial
 25     office and that he was not able to safely return and to
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  1     continue to perform his duties for several hours because of the
  2     riot.
  3                  So it is clear me that the function of the Secret
  4     Service was obstructed, delayed or adversely affected or the
  5     conduct of the performance of the Secret Service was adversely
  6     affected by the riot that occurred on January 6. And the Court
  7     thus finds that the civil disorder obstructed, delayed and
  8     adversely affected a protected federally -- a federally
  9     protected function.
 10                  In the alternative, although I don't think it is
 11     necessary in this case, the Court also finds that commerce was
 12     adversely affected by the civil disorder. Government
 13     Exhibit 502 shows that the Safeway grocery stores in the
 14     District of Columbia were closed pursuant to the mayor's curfew
 15     order. And that order, which the Court can take judicial
 16     notice of, explains that the civil disorder at the Capitol on
 17     January 6, 2021, threatened the "health, safety and well-being
 18     of persons in the District of Columbia and necessitated a
 19     curfew." And because the Safeway stores were closed due to the
 20     civil disorder at the Capitol, the stores saw fewer sales than
 21     predicted or that would otherwise have occurred on
 22     January 6, 2021.
 23                  And I am convinced of that based on that documentary
 24     evidence that has been submitted to the Court -- I know the
 25     defense takes the view that the commerce requirement requires
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  1     more and that somehow one has to look at the balance of
  2     commerce overall. I don't read the statute that way at all.
  3     And, in fact, I think that the statutory requirement is a
  4     relatively minimal one for the commerce requirement. It simply
  5     requires in section 231(3) that the civil disorder in any way
  6     or to any degree obstruct or delay, not only commerce but the
  7     movement of any article or commodity in commerce. And I think
  8     that standard is easily satisfied here. And I think even more
  9     generally the commerce requirement is satisfied. And,
 10     therefore, I conclude that the third element is satisfied.
 11                  I also could conclude that the Government is correct
 12     with respect to Count 1 on its theory with respect to the
 13     events that occurred at the tunnel. And the government argues
 14     that Mr. Smith committed civil disorder in violation of section
 15     231(a)(3) when he participated in the concerted heave-ho style
 16     pushing with other rioters against the police line that
 17     prevented members of the crowd -- that were attempting to
 18     prevent members of the crowd from entering the Capitol building
 19     through the tunnel entrance.
 20                  The first instance in which Mr. Smith pushed against
 21     the police line in the tunnel occurred at approximately
 22     2:50 p.m. And at that time Mr. Smith had entered the tunnel,
 23     made his way to front of the crowd and began to push forward in
 24     concert with other rioters against the police line. The CCTV
 25     footage from the cameras or the camera that is immediately
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  1     above the door to the tunnel shows that Mr. Smith pushed
  2     forward several times. And based on the testimony from
  3     Sergeant Bogner and the footage from Sergeant Bogner's body
  4     camera, the Court concludes that Mr. Smith would have had to
  5     have been quite close, if not directly against the police line
  6     at the time that he was engaging in this pushing. And it
  7     doesn't make a difference to my mind as a matter of law as to
  8     whether he was directly pushing against a police officer or
  9     whether he had someone else's back who was pushing against the
 10     police officer and he was engaged in the heave-ho and pushing
 11     that other person forward who was pushing against the police
 12     officer. I think that those things are really equal to my
 13     mind.
 14                  And the defense at times has argued that Mr. Smith
 15     was just stuck in the tunnel. He was just curious and wanted
 16     to get up there to see what was going on. And I think that is
 17     just demonstrably false when one looks at the video footage.
 18                  Later at approximately 3:15 p.m., the CCTV footage
 19     from inside the tunnel at Exhibit 403A also shows Mr. Smith
 20     entering the tunnel again after having left. When he reenters
 21     the tunnel, the crowd at the front of the tunnel is engaged in
 22     the heave-ho effort again, pushing against the police line.
 23     And seeing this, Mr. Smith deliberately makes his way forward
 24     to the front of the crowd of rioters, pushing against the
 25     police in an effort to force their way into the building. And
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  1     he is once again towards the front of the crowd. He
  2     participates in the heave-ho pushing against the police line
  3     for about a minute and a half. And that is again Exhibit 403A.
  4                  As I mentioned, the defense argues that the Court
  5     cannot determine whether the rioters are pushing directly
  6     against the police line at this point, because the camera from
  7     the CCTV doesn't show the police line itself. But the
  8     government has also provided third-party footage that makes
  9     clear that the rioters were at that time concertedly pushing
 10     against the police line. That is Exhibit 403D. And Mr. Smith
 11     can be seen in the third-party footage clearly participating in
 12     the synchronized pushing.
 13                  I will also note that I went back and spent quite a
 14     bit of time looking at the time sync from Sergeant Bogner's
 15     camera, which shows his view of what is going on from inside
 16     the Capitol from the CCTV. And it is evident to me from
 17     looking at that, the crowd is, in fact, pushing up directly
 18     against the police line at the time that Mr. Smith is joining
 19     in that effort. And at times you can even see the police
 20     officers' shields. And you see at times those shields being
 21     taken from the police officers and pulled back through the
 22     crowd of rioters.
 23                  I want to focus my attention on the second episode of
 24     the heave-ho effort for present purposes, but I do want to make
 25     clear I think the first episode is equally applicable and it
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  1     does show that Mr. Smith twice engaged in that behavior.
  2                  With turning to the first element and with these
  3     facts in mind, I find that Mr. Smith upon entering the tunnel
  4     at approximately 3:15 for the second time, that he
  5     intentionally made his way to the front of the crowd, which was
  6     already engaging in the heave-ho effort to push the police
  7     line, so that he could participate in that heave-ho effort.
  8     And he clearly, to my mind, voluntarily joined in that effort.
  9     And he was not pushed into doing it or stuck in the crowd in
 10     doing it. And he voluntarily and intentionally participated in
 11     that heave-ho effort to obstruct, impede or interfere with one
 12     or more law enforcement officers who were trying to prevent the
 13     rioters from entering the Capitol through the tunnel.
 14                  As I mentioned, Mr. Smith argues that he didn't
 15     voluntarily participate and that he was trapped. As I have
 16     indicated, I just don't think that is credible. For the first
 17     several heave-hos, by the Court's count, at least three which
 18     are at Exhibit 403A at time mark 28 to 40, Mr. Smith could
 19     easily have left the tunnel if he wanted and could have easily
 20     ceased pushing against the police line.
 21                  There were few rioters behind him at that time. He
 22     wasn't sandwiched in in any way, yet he stayed and joined in
 23     that effort. It is true that eventually the tunnel becomes
 24     more crowded and that it becomes increasingly difficult to
 25     leave. But when Mr. Smith indicated that he would like to
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  1     leave by turning around and gesturing with his hands, it is not
  2     clear whether he was gesturing because he wants to leave or
  3     somebody else in the crowd is getting crushed by the effort of
  4     the crowd pushing against police officers. He is able to do
  5     so. That, again, is 403A at a minute 50 to 2 minutes, 30.
  6                  And at this point when Mr. Smith visibly is seeking
  7     to leave the tunnel, the group pushing appears to have stopped.
  8     To the extent that Mr. Smith was at some point unable to easily
  9     and quickly remove himself from the group that was pushing
 10     against the police line, those moments don't in any way
 11     undermine my finding that he voluntarily entered the tunnel and
 12     voluntarily joined in the pushing effort. And I see no
 13     indication that he was distressed in doing so and simply trying
 14     to avoid the circumstance. To the contrary, he was
 15     enthusiastically joining in with the effort.
 16                  In terms of the second element, the Court finds for
 17     the reasons I have already explained that at the time of
 18     Mr. Smith's acts in the tunnel, law enforcement officers were
 19     engaged in the lawful performance of their duties incident to a
 20     civil disorder. The officers in the tunnel were trying to
 21     prevent the rioters from entering the building and were trying
 22     to push the rioters back. And so I conclude that the second
 23     element is satisfied. And the third element is satisfied for
 24     the reasons that I have already given. So the Court finds
 25     Mr. Smith guilty as to Count 1, civil disorder in violation of
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  1     18 U.S.C. section 231(a)(3).
  2                  Although, Count 2 of the superseding indictment
  3     charges Mr. Smith with inflicting bodily injury on certain
  4     officers in violation of 18 U.S.C. section 111(b), the
  5     government has provided notice and did provide notice of its
  6     intent not to pursue that charge, instead to pursue the lesser
  7     included offense of assaulting certain officers in violation of
  8     18 U.S.C. 111(a). And the government also provided notice in
  9     advance of trial that it wasn't seeking to convict Mr. Smith on
 10     the 111(a) theory based on physical contact that Mr. Smith made
 11     with the officers that were alleged to have been assaulted, so
 12     I will put those issues aside.
 13                  To find Mr. Smith guilty under these circumstances of
 14     a violation of Count 2, the Court must find the government has
 15     proven beyond a reasonable doubt the following elements:
 16     First, the defendant assaulted, resisted, opposed, impeded,
 17     intimidated or interfered with either an officer or employee of
 18     the United States or a person assisting such an officer or
 19     employee in the performance of his official duties. Second,
 20     the defendant did such acts forcibly. Third, the defendant did
 21     such acts voluntarily and intentionally. Fourth, that the
 22     officer or employee of the United States was engaged in the
 23     performance of his official duties. And, fifth, the defendant
 24     acted with the intent to commit another felony. And here the
 25     government alleges the other felony is the offense charged in
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  1     Count 1, which the Court has already concluded that Mr. Smith
  2     committed.
  3                  In the alternative, the government alleges that
  4     Mr. Smith assaulted, resisted or impeded an officer as charged
  5     in Count 2 by aiding and abetting others in committing that
  6     offense.
  7                  So put differently, the government alleges that the
  8     assault crime was committed by someone and that Mr. Smith
  9     knowingly and intentionally aided and abetted that person in
 10     committing the crime. In order to find Mr. Smith assaulting,
 11     resisting or impeding an officer because he aided and abetted
 12     others in committing this offense, the Court must find the
 13     government has proven beyond a reasonable doubt the following
 14     elements: First, that others assaulted, resisted or impeded an
 15     officer by committing each of the elements of the charged
 16     offense. Second, that the defendant knew that the officer or
 17     officers had been assaulted, resisted or impeded by others or
 18     that others were going to do the same. Third, that he
 19     performed an act or acts in furtherance of the offense.
 20     Fourth, that the defendant knowingly performed the act or acts
 21     for purposes of aiding, assisting, facilitating or encouraging
 22     others in committing the offense of assaulting, resisting or
 23     impeding the officer. And, finally, that the defendant did the
 24     act or acts with the intent that others commit the offense of
 25     assaulting, resisting or impeding the officers.
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  1                  Here, the government argues that the Court can find
  2     Mr. Smith guilty of Count 2 on one or both of two theories.
  3     First, that Mr. Smith violated section 111(a) by joining the
  4     rioters in the heave-ho in the tunnel to try and force the
  5     break in the police line. And, second, that he violated 111A
  6     when he aided and abetted another rioter in committing an
  7     assault or assaults against officers by handing that rioter a
  8     stun gun that he in turn -- that he had activated and turned
  9     on.
 10                  And for present purposes, I don't think I need to get
 11     into a linguistic debate about whether to call this a stun gun
 12     or a sparking device. For reasons that I will explain, I don't
 13     think it makes a difference. So when I say stun gun,
 14     understand that I am also including in that for present
 15     purposes a sparking device that might not be classified by an
 16     expert as a stun gun.
 17                  The government's first theory concerns the same
 18     actions that I have already discussed in Count 1. That is that
 19     Mr. Smith knowingly and intentionally helped push against the
 20     police line at approximately 3:15 in the tunnel as well as on
 21     earlier occasion. With respect to the first element of Count
 22     2, the Court finds that Mr. Smith did resist, oppose,
 23     intimidate and interfere with officers in the tunnel when he
 24     pushed in concert with other rioters against a police line at
 25     approximately 3:15 p.m. Sergeant Bogner testified that he and
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  1     other MPD officers had been called in to assist the Capitol
  2     Police in subduing the January 6, 2021 riot. He further
  3     testified that he and other MPD officers were in the tunnel
  4     assisting the Capitol Police when Mr. Smith was pushing against
  5     the police line. And therefore when Mr. Smith was pushing
  6     against the police line, he was pushing against law enforcement
  7     officers who were assisting officers of the United States, that
  8     is the Capitol Police in the performance of their official
  9     duties.
 10                  For the same reasons the Court found that Mr. Smith
 11     impeded and interfered with officers by participating in the
 12     heave-ho against the police line for Count 1. The Court also
 13     finds that his actions resisted, opposed, impeded, intimidated
 14     and interfered with officers for purposes of Count 2.
 15                  Mr. Smith's repeated pushing or shoving forward made
 16     it harder for the police officers to hold that line and keep
 17     the rioters out of the Capitol building. As Sergeant Bogner
 18     testified, the force of the rioters, including Mr. Smith,
 19     exerted in his heave-ho push was extremely difficult and taxing
 20     for the officers to oppose. It consumed the energies of the
 21     officers and made it much more difficult for those officers to
 22     perform their duties to keep the rioters out of the Capitol
 23     building that day, to clear the tunnel, to clear the area in
 24     front of the tunnel, to protect themselves and to protect the
 25     Capitol.
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  1                  And when you look at that footage, I have to say, I
  2     am struck by what a frightening circumstance that was for the
  3     officers. And I think, if anything, the officers who testified
  4     here, including Sergeant Bogner, understated the dire
  5     circumstances the officers faced in the tunnel. I see in one
  6     circumstance where there is one officer who is in the tunnel
  7     who is on the line and his finger is bent at an angle and
  8     bloodied. One of the officers says, are you okay? And he
  9     says, my finger is broken. And he goes back to holding the
 10     line there. There is a man whose finger is smashed, broken in
 11     an obvious angle, bleeding and he is not leaving. He is not
 12     leaving because he has to protect the Capitol and do his job.
 13     He is not complaining. And it was to my mind, an extremely
 14     frightening, dangerous circumstance for those officers.
 15                  The Court notes as I did in United States versus Cua
 16     that the most natural reading of section 111(a) is that it
 17     prohibits not only assaulting a designated person, but also
 18     forcibly resisting, opposing, impeding, intimidating and
 19     interfering with a designated person while engaged in the
 20     performance of her official duties. That is at 657 F. Supp. 3d
 21     at 112.
 22                  So the Court need not find that an assault occurred
 23     to find that the first element is satisfied if the defendant
 24     otherwise resisted, opposed, intimidated or interfered with a
 25     designated person, which I think is easily satisfied here. I
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  1     think it is also actually the case that, although I don't need
  2     reach it, that an assault also occurred as well, even though
  3     Mr. Smith may not have personally -- or there is not evidence
  4     that he had personal contact with the officers. Pushing
  5     someone else into an officer would constitute an assault in any
  6     event. But for the reasons I have stated, I don't think I need
  7     to reach that question.
  8                  With respect to the second element of Count 2, the
  9     Court finds that Mr. Smith committed the acts forcibly. A
 10     person acts forcibly if he uses force, attempts to use force or
 11     threatens use of force against the officer. A push is, in
 12     fact, a use of physical force. And the evidence clearly shows
 13     Mr. Smith was pushing in the tunnel against at least the other
 14     rioters in front of him, if not against directly against any
 15     officers.
 16                  Moreover, Sergeant Bogner testified that rioters
 17     exerted quite a bit of force on the police officers holding the
 18     line in the tunnel when they engaged in the heave-ho.
 19                  You know, this is -- I am jumping backwards a little
 20     bit. But when I mentioned the officer with the broken finger
 21     that was bleeding, it does bring back to my mind that going
 22     back to the incident at the scaffolding that at the time that
 23     Mr. Smith is engaging with Captain Augustine at that line
 24     there, you know, far from just a friendly, everyday
 25     conversation, Captain Augustine is bleeding from his face. His
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  1     shirt is stained as a result of the attack. This is a man who
  2     is clearly in distress and under extremely adverse
  3     circumstances. And the conversation is not, oh, my gosh, I see
  4     you are bleeding, is there anything I can do to help? It is,
  5     there are a million and a half of us behind me here, get out of
  6     the way. That was at least the implication.
  7                  But let me turn back to Count 2. With respect to the
  8     third element, the Court finds beyond a reasonable doubt that
  9     Mr. Smith committed these acts voluntarily and intentionally.
 10     As the Court explained with respect to Count 1, he
 11     intentionally and voluntarily pushed against the police line in
 12     the tunnel to try and break through the line. After Mr. Smith
 13     re-entered the tunnel, he deliberately made his way to the
 14     front of the crowd where the crowd was already pushing forward
 15     in the heave-ho manner. And Mr. Smith joined in that effort to
 16     push forward against the police officers.
 17                  The Court also rejects the defense that he was
 18     trapped and not able to leave for the reasons that I have
 19     previously explained.
 20                  The Court finds the fourth element is also satisfied,
 21     that is that the subject of Mr. Smith's act was an officer or
 22     employee of the United States who was engaged in the
 23     performance of his official duties or a person assisting such
 24     an officer or employee in the performance of his official
 25     duties. And as I previously explained that Sergeant Bogner was
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  1     present in the tunnel as part of the police line at the
  2     relevant times. And the other officers from the MPD were
  3     present there because they were called in to assist the US
  4     Capitol Police in trying to secure the Capitol buildings and
  5     grounds and to otherwise subdue the riot in the tunnel and
  6     elsewhere.
  7                  And then as to the fifth and final element, the Court
  8     concludes that Mr. Smith acted with the intent to commit the
  9     crime charged in Count 1 when he pushed forward in concert with
 10     the other rioters in the tunnel. He did so with the intent
 11     break the police line and obstruct the police officers' ability
 12     to respond to the ongoing civil disorder in the tunnel and the
 13     US Capitol more generally.
 14                  I don't need to reach this issue, but I am also
 15     convinced that the passing of the stun gun constituted a
 16     violation for purposes of Count 2. And so in the alternative,
 17     I do find that Mr. Smith aided and abetted another in
 18     assaulting officers by providing the stun gun or sparking
 19     flashlight to the other individuals.
 20                  Let me start with the stun gun or sparking device.
 21     The CCTV footage from the tunnel shows that at approximately
 22     2:52 p.m. Mr. Smith removed a glove he was wearing, reached
 23     into his pocket and removed a black item. He then removes the
 24     item from its case, fiddles with it, holds it up in the air to
 25     look at it. The object emits a bright blue light. He places
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  1     the pin in it, which we have later learned was essentially the
  2     safety device, indicating that he was familiar with the device.
  3     It wasn't something he just found on the ground. He knew how
  4     it operated and rendered it to be operational.
  5                  Mr. Smith then passes the item to another individual
  6     wearing a blue knit hat with Trump lettering on it. Mr. Smith
  7     first tries to pass it to a couple of others, who quite wisely
  8     don't want to have anything to do with it. But eventually the
  9     individual in the blue hat does take the device. At times the
 10     defense has suggested that Mr. Smith was simply trying to find
 11     the rightful owner of the device. And I find that argument
 12     incredible. It is clear that he understood how the device
 13     worked. He was the one who rendered it operational. He tested
 14     it before passing it forward. And he is looking to pass it not
 15     to whoever in the tunnel might have lost their stun gun or
 16     sparking device. He is trying to pass it to the front where it
 17     can be used against the officers at the front. He is not
 18     looking to his side or to his back. He is not looking back at
 19     the crowd and saying, hey, did anyone lose something here? He
 20     is passing it forward to those who can actually use it against
 21     the officers.
 22                  The individual wearing the blue knit hat eventually
 23     passes it to an individual with a beige knit hat who passes it
 24     to the fourth man in the bright blue jacket. When the man
 25     wearing the bright blue jacket receives it, he examines it
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  1     briefly. And the same red light can be seen, so we know it is
  2     the same device that Mr. Smith took from his pocket. A photo
  3     of the man wearing the blue jacket outside of the tunnel shows
  4     him holding the device and that is Exhibit 615E.
  5                  And I think there is actually agreement among the
  6     witnesses in the case that the device was a Vipertek VTS797
  7     stun gun or sparking device, if you want to call it that or a
  8     similar model. At trial, I examined that device and observed
  9     that it appeared to be the same device that the man in the blue
 10     jacket held. And it also appears to be the same device that
 11     the man in the blue hat hands the man in the beige hat. The
 12     VTS797 also bears characteristics that match what is seen in
 13     the video while Mr. Smith is handling it.
 14                  First, Agent Lee testified that the Vipertek stun gun
 15     is sold in a traveling case. And you can see Mr. Smith
 16     removing it from a similar case. Agent Lee also testified that
 17     the Vipertek requires the user to insert a pin prior to being
 18     able to discharge it. You can see Mr. Smith inserting the pin
 19     into the device. And third, Agent Lee advised how the device
 20     emits a bright blue light and a loud static noise when it is
 21     fired. And Mr. Smith can be seen in the tunnel holding it up
 22     with the same flash of blue light.
 23                  And then Agent Lee also showed how the device
 24     displays a red light on its side, which then you can see in the
 25     tunnel, both when Mr. Smith has the device and also when others
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  1     in the tunnel have it. So the Court concludes that item
  2     Mr. Smith removed from his pocket at approximately 2:52 was the
  3     Vipertek VTS797 device or a similar device in all material
  4     respects.
  5                  Turning to the elements. With respect to the first
  6     element, the government is required to prove under an aiding
  7     and abetting theory that others violated 18 U.S.C. 111(a) by
  8     assaulting, resisting or impeding officers in the tunnel and
  9     specifically I find that individual who has been identified as
 10     Zachary Rash or the man in the blue hat assaulted officers who
 11     were at the front of the police line in the tunnel.
 12                  As I have explained, both in this case and elsewhere,
 13     an assault includes an intentional attempt or threat to inflict
 14     injury on anyone else when coupled with the apparent ability to
 15     do so. There is no evidence here that Mr. Rash actually did
 16     inflict an injury on the officers at the front of the police
 17     line in the tunnel or even that he actually made physical
 18     contact with them. But the CCTV footage shows that at
 19     approximately 2:53 he made an aggressive lunging movement
 20     toward the police line wielding the object which I am convinced
 21     is the stun gun or sparking device at issue. At the same time
 22     that he can be seen lunging in the direction of the officer
 23     that is at 2:53 and 25 seconds, the noise of the stun gun
 24     firing can be heard exactly at that same time. And I have got
 25     this by comparing different exhibits. Mr. Rash can also be
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  1     seen pushing forward toward the police line at 2:52:44 when
  2     audio from two different police officers' body cameras pick up
  3     the noise of a stun gun being fired. That is Exhibits 402C and
  4     701B.
  5                  So I find that Mr. Rash did discharge the stun gun
  6     device while lunging at the police officers in the tunnel. And
  7     that in doing so, he threatened the officers with an apparent
  8     ability to inflict bodily injury.
  9                  The defense has introduced evidence from their
 10     expert, Dr. Kroll, that the VTS797 is not an especially
 11     dangerous device, that someone who is shocked by it may not be
 12     injured or incapacitated in any way. I will note that although
 13     he did give that testimony, he also, I think, was reluctant to
 14     test it on himself. And I didn't think any of us wanted to
 15     test it on ourselves, I think it is safe to say, even if it
 16     would not have been incapacitating or wouldn't cause one
 17     convulsions or even long-term physical injury or physical
 18     injury, I think it is fair to say that it would have -- and
 19     there is reason to believe it would cause at least discomfort.
 20     And, in fact, even the testimony from Dr. Kroll was that it
 21     would be like a pinching feeling against the arm. And if it is
 22     a pinching feeling against the arm or the leg, one can rest
 23     assured that in other portions of the body that it would be
 24     quite painful. But I don't think that is necessary at all to
 25     my holding. That is really an aside. Because I don't need to
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  1     make any finding with respect to whether there was any actual
  2     harm or even really whether the device had the ability to
  3     inflict actual harm. An assault can occur without physical
  4     contact or injury. And intentionally causing someone to fear
  5     injury when coupled with the present ability to do so is
  6     sufficient.
  7                  And everyone here agrees that when the VTS797 is
  8     fired, it emits a very loud and scary electrical shock-type
  9     noise that one typically associates with a Taser-like device.
 10     And an officer hearing that device, in my view, would be
 11     concerned about their physical safety, particularly when it is
 12     pointed in their direction in the middle of a riot as occurred
 13     here. Sergeant Bogner testified that despite all of the noise
 14     and commotion that was occurring in the tunnel that day, he and
 15     others officers in the tunnel were able to discern the noise
 16     from a stun gun being discharged like the VTS797, because
 17     officers are sensitive to weapons being used. And when you
 18     know that sound, you know it to be a weapon. And it is
 19     something that you pay attention to. Sergeant Bogner
 20     elaborated by stating that "A stun gun presents safety
 21     concerns, because a stun gun can hurt you. It can cause pain.
 22     It can cause burns. It is something you pay attention to
 23     because you don't want it used on you."
 24                  When Mr. Rash fired the stun gun while lunging at the
 25     police officers in the tunnel, he threatened them with bodily
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  1     injury and had the apparent ability to inflict that injury,
  2     even if the actual stun gun he was holding was not something
  3     that would, in fact, cause injury.
  4                  Mr. Rash also did so forcibly. He lunged forward
  5     with the stun gun in an attempt -- that was an attempt to use
  6     force to threaten the police officers. And he did so
  7     voluntarily and intentionally. The video shows Mr. Rash taking
  8     the stun gun from Mr. Smith, pushing his way to the front of
  9     the police line before lunging at the officers while wielding
 10     the stun gun. And the recipients of this threat were the
 11     officers who were present in the tunnel to assist the Capitol
 12     Police, when they were engaged in the performance of their
 13     official duties and holding the line and preventing the rioters
 14     from entering the Capitol. I think it is safe to say that
 15     there is no reason to believe that Mr. Rash was using this
 16     device as a joke or a party favor or anything. It was being
 17     used like a lot of what was going on in that tunnel that day,
 18     to threaten and to scare the officers who were present there.
 19                  I will say, because this doesn't come across in the
 20     record, but when you hear the device fire, it is frightening.
 21     And I understand that there was a lot of noise in the tunnel,
 22     but it is extremely loud and an extremely disturbing noise.
 23     And I know that I personally jumped when I heard the device.
 24                  I will actually suggest to Mr. Ross, that if you are
 25     going to do that ever again in a closing, you ask the judge's
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  1     permission first. Some other judges would not take as kindly
  2     to that as I would and you might find yourself in some trouble
  3     with some of my colleagues in this Court were you to do that.
  4     But it made the point. It wasn't necessary because I had heard
  5     it previously. And the device is a scary device. And I have
  6     no doubt that the officers who were at the front of the line
  7     were frightened by it.
  8                  I pause here for a second, because both with respect
  9     to the pushing and more specifically with respect to that
 10     device, the defense has suggested at times that you need the
 11     particular officer here to testify. And it needs to be
 12     directed at a particular officer. I am not convinced by that.
 13     We know it was the officers who were at the front of the line
 14     there. We may not know their identities, but we know at any
 15     particular time it was the particular officers that were at the
 16     front of the line there.
 17                  And Mr. Roots may be right that were the government
 18     to bring a subsequent prosecution regarding the use of the stun
 19     gun at some other time or some other place that there might be
 20     issues and concerns with that. But it was used twice at a very
 21     specific time, in a very specific place directed at whoever the
 22     officers were who were at the front of the line. I don't think
 23     we need to know who they were in order to find that an assault
 24     occurred. And I also find that any reasonable officer under
 25     the circumstances would have been frightened by that display of
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  1     force.
  2                  And then, finally, the Court finds that Mr. Rash
  3     committed this assault with the intent to commit another
  4     felony, that is civil disorder in violation of 18 U.S.C section
  5     231(a)(3). And as has been explained, the officers in the
  6     tunnel were performing their lawful duties incident to a civil
  7     disorder that was occurring in the tunnel at that time. And by
  8     lunging at the officers, threatening injury and causing them to
  9     fear for their safety, Mr. Rash intentionally tried to impede
 10     those officers' performance of their duties. And that he
 11     intentionally tried to make it more difficult for them to keep
 12     the rioters from entering the Capitol through the tunnel.
 13                  Having found the first element of aiding and abetting
 14     satisfied here, the Court turns to the remaining elements. The
 15     remaining elements in some sense run together. They require
 16     the defendant to know that the officer has been assaulted,
 17     resisted or impeded by others or that others were going to do
 18     the same and that the defendant knowingly performed an act in
 19     furtherance of the offense with the purpose of aiding that
 20     offense. And I find that all of those elements are satisfied
 21     here beyond a reasonable doubt.
 22                  Mr. Smith removed the stun gun from his pocket. He
 23     enabled it to fire, tested it to make sure it worked and then
 24     passed it to another individual in the front of the group who
 25     was closer to the police line than he was. In doing so, he
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  1     knew that he was passing an item that could be used to assault,
  2     resist or impede the officers in the police line. There was no
  3     other reason to do it than to pass it forward other than that.
  4     This was a device that could only be used under the
  5     circumstances be used for that purpose. And, in fact, if
  6     Mr. Smith did not want another individual to use the stun gun
  7     in such a fashion, it would have made no sense for him to have
  8     passed it forward as he did after enabling it to fire by
  9     putting the pin in place.
 10                  As I have mentioned, the defense argues that
 11     Mr. Smith was attempting to return a lost item. And I don't
 12     find that argument at all persuasive.
 13                  So for these reasons, the Court finds that Mr. Smith
 14     is guilty of Count 2, assaulting, resisting or impeding certain
 15     officers in violation of 18 U.S.C. section 111(a).
 16                  Before turning to the section 1752(a) counts, I want
 17     to address the two 5104 counts, which are Counts 6 and 7 of the
 18     superseding indictment. Count 6 of the superseding indictment
 19     charges Mr. Smith with disorderly conduct in a Capitol building
 20     or grounds in violation of 40 U.S.C. section 5104(e)(2)(D).
 21     And to find him guilty of Count 6, the Court must find the
 22     government has proven the following elements beyond a
 23     reasonable doubt: First, that Mr. Smith engaged in disorderly
 24     or disruptive conduct in any of the Capitol building or
 25     grounds. Second, that he did so with the intent to impede,
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  1     disrupt or disturb the orderly conduct of a session of Congress
  2     or either House of Congress and that he acted willfully and
  3     deliberately. And I find that the government has not met its
  4     burden with respect to Count 6. Specifically, the Court is
  5     unable to find beyond a reasonable doubt that the government
  6     has proven the second element. The government did not admit
  7     any evidence indicating that Mr. Smith was aware that Congress
  8     was in session or at least was scheduled to be in session at
  9     the time that he was at the Capitol.
 10                  And maybe that based on everything else we know from
 11     the world, that seems reasonably clear, but I have to rely on
 12     what the evidence is that was actually admitted in the case.
 13     And the government provided a handful of Mr. Smith's social
 14     media posts in the weeks and months leading up to
 15     January 6, 2021. But none of those posts discuss the
 16     certification of the election, nor do they mention anything
 17     about what Congress would be doing that day. Exhibits 818 and
 18     820 reference election fraud generally or allegations of
 19     election fraud in Georgia, but they make no reference to
 20     Congress' role in certifying the election. And although the
 21     government did introduce evidence that Mr. Smith discussed the
 22     certification after January 6th, that doesn't satisfy the
 23     government's beyond a reasonable doubt burden standard with
 24     respect to his knowledge or intent that day.
 25                  It may be that one can infer that he would have known
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  1     that earlier, but I am not prepared to conclude that beyond a
  2     reasonable doubt.
  3                  In a similar vein, Mr. Smith's counsel acknowledged
  4     in their proposed findings of fact and opening brief that
  5     Mr. Smith attended the rally at the Ellipse. And there perhaps
  6     was discussion of the certification of the election at the
  7     rally. I believe there was, but, again, that is not in
  8     evidence before me in this case. And so I can't rely on that.
  9     Since it is the government that bears the burden beyond a
 10     reasonable doubt on every element, I find Mr. Smith not guilty
 11     of disorderly conduct and disruptive conduct in a Capitol
 12     building or grounds for purposes of Count 6.
 13                  In Count 7, Mr. Smith is charged with committing an
 14     act of physical violence in the Capitol building or grounds in
 15     violation of 40 U.S.C. section 5104(e)(2)(F). And to find
 16     Mr. Smith guilty of Count 7, the Court must find that the
 17     government has proven beyond a reasonable doubt the following
 18     elements: The defendant engaged in an act of physical violence
 19     within the Capitol building or grounds and that he acted
 20     willingly and knowingly. With respect to the first element,
 21     the Court finds that Mr. Smith engaged in an act of physical
 22     violence on the Capitol grounds when he was pushing forward
 23     against the rioters towards the police line in the tunnel at
 24     approximately 3:15 p.m., as well as when he pushed forward
 25     against the police line in the tunnel at approximately
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  1     2:50 p.m.
  2                  With respect to the second element, the Court finds
  3     for the same reasons that the Court did with respect to Counts
  4     1 and 2 that Mr. Smith's pushing forward in the tunnel was done
  5     willfully and knowingly. And therefore the Court finds
  6     Mr. Smith guilty of Count 7, committing an act of physical
  7     violence in the Capitol building or grounds in violation of 40
  8     U.S.C. section 5104(e)(2)(F).
  9                  So that all then leads to the 1752(a) counts. And
 10     that presents the question that I heard oral argument on that I
 11     have given a lot of thought to, that my colleagues have given a
 12     lot of thought to, in particular whether the knowingly scienter
 13     requirement carries through all of the statute to the point of
 14     knowing not just that one has entered or remained, for example,
 15     in a restricted building or grounds without lawful authority to
 16     do so, where the restricted building or grounds means any
 17     posted, cordoned off or otherwise restricted area. But also
 18     carries forward to knowing that a person protected by the
 19     Secret Service is or will be temporarily visiting. And as I
 20     have previously indicated, I think this is a close and
 21     difficult question.
 22                  And I look forward to getting some guidance from the
 23     D.C. Circuit with respect to this question. Both parties have
 24     briefed the issue. I am familiar with the many opinions that
 25     have been offered by my colleagues on this issue, including
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  1     Judge Cooper's opinion in United States versus Groseclose and
  2     Judge Howell's opinion in United States versus Carnell. Judge
  3     Cooper in the Groseclose case takes the position, as I
  4     understand it, that the defense takes here that section
  5     1752(a)'s knowledge requirement applies to the entire
  6     definition of restricted building or grounds. Judge Howell
  7     adopted a different view, which is the view that the government
  8     presses, which requires only that the defendant know that the
  9     area was posted, cordoned off or otherwise restricted.
 10                  And I am not going to repeat here the very thoughtful
 11     and thorough analyses in those two opinions as well as some of
 12     the other opinions from my colleagues. But I do want to hit on
 13     some of the key points. First, it is a fundamental principle
 14     of statutory interpretation that Courts ordinarily read a
 15     phrase in a criminal statute that introduces the elements of
 16     the crime with the word knowingly as applying that word, that
 17     is the scienter requirement to each element. That is from
 18     Flores-Figueroa 556 U.S. at 652 or put differently as the
 19     Supreme Court did in the Rehaif case, as a matter of ordinary
 20     English grammar, we normally read the statutory term knowingly
 21     as applying to all of the subsequent listed elements of the
 22     crime.
 23                  So we start with the proposition that 1752 would
 24     ordinarily be read such that knowledge requirement carries all
 25     of the way through. But I think, as I understand it, not even
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  1     the defendant argues that it actually carries all of the way
  2     through the statute. Because if it carried all of the way
  3     through, it would not only carry through 1752(c)(1)(B) but
  4     would also carry through to (c)(2), because we are
  5     incorporating the definitions and both of those are
  6     definitional sections. And the definition of the term other
  7     person protected by the Secret Service, means any person whom
  8     the United States Secret Service is authorized to protect under
  9     section 3056 of this title or by presidential memorandum when
 10     such person has not declined such protection. And I don't
 11     understand the defense -- and I don't think the defense, to my
 12     knowledge in any of these cases, has argued that, for example,
 13     if this were just the vice president's daughter who was present
 14     at the Capitol that the government would bear the burden of
 15     proving that the vice president's daughter had not declined
 16     Secret Service protection. So I think there is going to be a
 17     question of really where one draws the line.
 18                  But even putting that question aside, the law is also
 19     settled that where an element at issue is a jurisdictional
 20     element, as the government argues is the case here, the rules
 21     are different. And even if a plain grammatical reading
 22     suggests otherwise, the scienter requirements usually do not
 23     apply to purely jurisdictional elements, because they normally
 24     have nothing to do with the wrongfulness of the defendant's
 25     conduct. And instead jurisdictional elements function as a
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  1     hook to enable federal government to regulate certain conduct.
  2                  And as came out in some of the questions I posed, the
  3     difference between jurisdictional elements and other elements,
  4     was central to the Supreme Court's reading in Feola. And it is
  5     not purely using the term or the courts are not purely using
  6     the term jurisdictional there in the sense of you need a
  7     jurisdictional hook like the commerce clause. But, rather, the
  8     Court's use of the term jurisdictional in this sense also to
  9     get to the question of whether Congress thought it important
 10     that there be a federal forum or that the Justice Department
 11     have the discretion to bring charges in the case. So I think
 12     it is a mistake in this context, particularly given the Feola
 13     case, to read the word jurisdictional only in the sense of
 14     saying was it added purely as matter of identifying some
 15     federal power to regulate in the field.
 16                  In Feola, the Supreme Court held that the defendant
 17     was not required to have known that the person he was
 18     assaulting was a federal officer, because there in the words of
 19     the Court section 111 was jurisdictional only. And I am not
 20     sure that it was jurisdictional in the sense of the commerce
 21     clause hook in that case or at least I don't think that was how
 22     the Court was using the phrase. The Court reached that
 23     conclusion because it determined that section 111, which
 24     largely duplicated state law criminal provisions was chiefly
 25     aimed at ensuring there would be a federal forum in which to
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  1     prosecute those who harm federal officials, just because the
  2     federal government might have greater interest in making sure
  3     that those prosecutions were vigorously pursued. But it didn't
  4     go necessarily to the culpability of the underlying conduct.
  5     Comparing section 1752 to section 111 and the Court's purposes
  6     of enacting each, Judge Cooper explained in Groseclose, that if
  7     the Court were to focus only on section 1752 as it stood when
  8     first enacted as part of the Omnibus Crime Control Act of 1970,
  9     the Court would be hard pressed to see a meaningful difference
 10     or any meaningful daylight between Feola and the present case.
 11     And I agree with that proposition.
 12                  In 1970, section 1752 provided that, "It shall be
 13     unlawful for any person or group of persons to willfully and
 14     knowingly enter or remain in any building or grounds designated
 15     by the Secretary of the Treasury as a temporary residence of
 16     the President or temporary residence" -- I'm sorry. "As a
 17     temporary residence of the President or as temporary officers
 18     of the President and his staff or any posted, cordoned off or
 19     otherwise restricted area of a building or grounds where the
 20     President is or will temporarily be visiting."
 21                  And as Judge Cooper quite ably and persuasively
 22     explained in Groseclose, Congress in 1970, as in Feola was
 23     motivated by a desire to federalize ordinary state law offenses
 24     in order to achieve more certainty and uniformity over security
 25     measures involving important federal officials, namely the
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  1     President, who was the only person who was protected under the
  2     original law. The Senate Report explained the new law was
  3     designed to provide a uniform minimal federal jurisdiction for
  4     presidential security when the President is on temporary
  5     visits. Consistent with that purpose, the original penalty for
  6     violating 1752 was capped at 6 months imprisonment. And that
  7     was the same penalty commonly leveled against ordinary
  8     trespassers. And he cites to D.C. Code. And the same one that
  9     federal laws imposes against those who disrupt Congressional
 10     proceedings during the normal course of business when no Secret
 11     Service protectee is visiting. And he cites to 5109(b).
 12     Viewed from this perspective, Judge Cooper continues that the
 13     requirement that a Secret Service protectee be on the premises
 14     would appear to be jurisdictional only, in much the same way as
 15     in Feola. And as I indicated, I find that reasoning
 16     convincing.
 17                  I will note at the same time congress passed the
 18     original law, it also included a provision that said none of
 19     the laws of the United States or the several states shall be
 20     superseded by this section, which does suggest to me that hey
 21     were focused on jurisdictional. And they are saying, even
 22     though we are passing a law, which mirrors what might apply
 23     under state law, and we are going to have jurisdiction to do
 24     this, that we want to leave the state laws in place. Congress
 25     was focused on jurisdiction in the sense of which authority
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  1     would have the power to bring the case or which authority would
  2     be able to bring the case rather than perhaps in the strict
  3     Lopez commerce-clause type jurisdictional sense.
  4                  That, obviously, is not the same statute that exists
  5     today. There have been several intervening amendments. One of
  6     the more substantial ones occurred in 2006, when the USA
  7     Patriot Improvement and Reauthorization Act was passed into
  8     law. And in Groseclose Judge Cooper found significant that
  9     through the 2006 amendment Congress "doubled the maximum
 10     penalty from 6 months to one year for violations 1752(a)(1)
 11     through (4)." And as Judge Cooper wrote, "This significant
 12     increase was not mere penalty inflation. Rather in doing so,
 13     Congress seems to have reconceptualized 1752 and created a
 14     different sort of federal crime."
 15                  "Therefore although," again, quoting Judge Cooper,
 16     "Congress in 1970, may have conceived of section 1752 as
 17     duplicating state prohibitions to confer federal jurisdiction,
 18     much in the same way the Supreme Court in Feola understood 18
 19     U.S.C. section 111, Congress in 2005 apparently did not share
 20     this understanding. And instead viewed section 1752 as
 21     precisely the type of offense that the majority in Feola went
 22     out of its way to distinguish an aggregated offense leveling
 23     and added penalty against those who endanger Secret Service
 24     protectees."
 25                  And I have to say, I am not persuaded by the final
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  1     step in Judge Cooper's analysis. I think that I find
  2     everything up until that step quite persuasive in his analysis.
  3     But to my mind, more is needed to reconceptualization a
  4     statute. And to take a statute in which the presence of a
  5     federal protectee was jurisdictional and where there was not a
  6     knowing requirement. And to think that Congress just by
  7     increasing the penalty from 6 months to a year, still a
  8     misdemeanor, intended to fundamentally change the law, in a way
  9     which would have been and would be a major change in the law
 10     and the scope and the applicability. Because it is, as the
 11     litigation in these cases has shown, a significant question and
 12     a significant issue as to whether the government has to prove
 13     beyond a reasonable doubt that the defendant was aware that the
 14     protectee would be present.
 15                  Groseclose attempts to bolster its reasoning by
 16     citing to 18 U.S.C. section 3056(d), which is referred to in
 17     the legislative history for the amendment in 2006. And he
 18     refers to 3056(d), which makes a crime punishable by up to one
 19     year imprisonment to knowingly obstruct, resist or interfere
 20     with a federal law enforcement agent engaged in the performance
 21     of a protected function authorized by that section or by 1752.
 22                  And increasing the maximum penalty for violating
 23     section 1752(a) to one year, the conference report explained
 24     that the change was made to make the penalty for violating
 25     section 1752, consistent with the prescribed penalty under 18
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  1     U.S.C. section 3056(d). And Groseclose reasoned that because
  2     one must know that the individual that he is obstructing,
  3     resisting or interfering with is a law enforcement officer
  4     performing his official duties in order to violate 3056(d),
  5     Congress must have similarly intended the same scienter
  6     requirement to apply under 1752(a).
  7                  That might be right, but a couple of points with
  8     respect to that. First of all, I have looked somewhat and I am
  9     not sure that it is an entirely settled question, that a
 10     violation of 3056(d) requires the government to prove beyond a
 11     reasonable doubt, not only that someone knowingly and willfully
 12     obstructed an official who was engaged in a protected function,
 13     but also to know that was a federal law enforcement agent who
 14     was engaged in a protected function authorized under that
 15     statute. And it seems to me improbable actually that it goes
 16     all of the way through. It maybe raises some of the similar
 17     questions posed here of how far through the knowing requirement
 18     travels. Because I would be very surprised if Congress
 19     intended under 3056(d) to mean that the government has to prove
 20     beyond a reasonable doubt that a person knew that the protected
 21     function was authorized under that statute.
 22                  Even putting that aside, I am not convinced that the
 23     reference to another penalty provision and simply bringing the
 24     penalty provision from 6 months to a year, which I guess I note
 25     is still a misdemeanor in light of the other penalty is
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  1     sufficient to implicitly reconceptualization a statute, in
  2     essence to rewrite the statute in a way that imposes a
  3     substantial additional burden on the Government that was not
  4     present there. And so for some reasons that I am not convinced
  5     that simply increasing the penalty from 6 months to a year is
  6     sufficient to show that Congress reconceptualized a decades-old
  7     offense in such a fundamental way. I am not convinced a
  8     cross-reference to another provision simply for purposes of
  9     saying that the penalty should be the same carries that weight.
 10                  As was indicated by my questioning, I am somewhat
 11     more concerned about the fact that Congress at the same time
 12     that it added the increased penalty for the misdemeanor, added
 13     a felony provision for those who carry or use a firearm or
 14     other dangerous weapon during and in relation to the offense or
 15     where the offense results in significant bodily injury. And I
 16     do wonder whether the addition of that felony provision, which
 17     carries a penalty of up to 10 years, does suggest that Congress
 18     more fundamentally reconceptualized the statute. And the same
 19     scienter requirement would apply for purposes of the felony
 20     provision as for purposes of the misdemeanor provision. And to
 21     my mind, this is where the question gets hard in this case or
 22     in these cases.
 23                  And I think that one could make a substantial
 24     argument that the addition of the felony provision did in a way
 25     reconceptualization the statute. But for a couple of reasons,
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  1     I am not convinced that even that addition did so. And I have
  2     a couple of reasons that I am not convinced that even that
  3     addition does so. First of all, just as a linguistic matter, I
  4     think as I have previously indicated, it is necessary to draw
  5     the line somewhere in the definitional section. And the
  6     question is just how much of the scienter requirement, how much
  7     the definitional section applies -- how far into definitional
  8     section the scienter requirement applies. It is not carrying
  9     all of the way through and you have got to draw the line at
 10     some point in that process. And for a couple of reasons, I
 11     think the better view of the statute, although I admit this is
 12     a close question, the better view of the statute is the one
 13     that the government has taken in that the scienter requirement
 14     should carry through the posted or cordoned off or otherwise
 15     restricted area, but not beyond that.
 16                  One reason is there actually is a natural break at
 17     that point in the language. Two, if you were to conclude
 18     otherwise, you wouldn't include the break at the natural break
 19     in the language, but you would have to include it somewhere,
 20     either partway through a sentence or not entirely clear to me
 21     where you would draw the line. Because I don't think anyone
 22     takes the view, for example, that the defendant actually has to
 23     know that person is, in fact, truly protected by the Secret
 24     Service in order to satisfy 1752. If you took the vice
 25     president's daughter and everyone knew the vice president's
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  1     daughter was going to be there and it was cordoned off because
  2     the vice president's daughter was going to be there, I would be
  3     doubtful if Congress would have intended to say that the person
  4     actually has to know that the vice president's daughter was
  5     protected by the Secret Service, and beyond that, would have to
  6     know that she was 16 years of age or younger if you actually
  7     look at the Secret Service statute as to whether protection
  8     applies and know that she didn't turn down the protection.
  9                  But the problems get even harder with respect to
 10     other scenarios. So under section 3056(a), the Secret Service
 11     is also required to protect distinguished foreign visitors to
 12     the United States and official representatives of the United
 13     States performing special missions abroad when the President
 14     directs that such protection be provided. And I am not
 15     persuaded that Congress would have and could have rationally
 16     intended for the government to have to prove beyond a
 17     reasonable doubt, for example, that the President had issued a
 18     memorandum saying that the Deputy Undersecretary of Finance
 19     from Ukraine who is visiting the Capitol Hill for a meeting
 20     should be designated for protection by the Secret Service in
 21     order to conclude that someone has violated the statute, even
 22     if they knew that person was present.
 23                  But the provision that I find particularly tricky
 24     is -- and I think the definitions all have to apply in the same
 25     way. And I have asked in the past and today, questions about
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  1     what 1752(c)(1)(C) means. And that provides that the
  2     restriction applies to building or grounds restricted in
  3     conjunction with an event designated as a special event of
  4     national significance.
  5                  And then if you go and you look at 18 U.S.C. section
  6     3056, the statute recognizes that the President can direct that
  7     an event be designated a special event of national
  8     significance. And then provides that at the end of each fiscal
  9     year, the President through such agency or office as the
 10     president may designate shall report to Congress with respect
 11     to those events. And there is no reason to think that Congress
 12     ever thought that designation would ever be publically
 13     announced until after the fact. So if I were to read the
 14     scienter requirement all of the way through (c)(1)(C), it seems
 15     to me unlikely that that provision would ever have any meaning.
 16     Because the person would not only have to know that they were
 17     without authorization in a cordoned off area of a building or
 18     grounds, but would have to know that the event had been
 19     designated as a special event of national significance where,
 20     based on my reading of the statute, it appears as though that
 21     is reported by the President at the end of the fiscal year.
 22                  So there are other sources like the Congressional
 23     Research Service, which describes special events of national
 24     significance as being major sporting events, major
 25     international summits held in the United States or Presidential
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  1     inaugurations. There is no statutory definition of the term
  2     that the Court is aware of or any regulation that implements
  3     it.
  4                  And so I am doubtful that Congress would have
  5     intended to give that provision essentially no meaning, because
  6     that designation is one that, in fact, as far as I can
  7     determine is not one that is publically announced at least
  8     before the event occurs.
  9                  In addition, the House Report for the amendments to
 10     statute in 2011, which created the current definitional section
 11     which breaks it down in this way, I think further supports the
 12     view that the subportions of 1752(c)(1) in (A), (B) and (C) are
 13     jurisdictional in nature. There, Congress explained it was
 14     amending the statute to add section 1752(c)(1)(A), which
 15     includes the White House or its grounds or the vice president's
 16     official residence or grounds to the definition of restricted
 17     building or grounds because -- and I am quoting now -- "Current
 18     law prohibits unlawful entries upon any restricted building or
 19     grounds where the President, Vice President or other protectee
 20     is temporarily visiting. However, there is no federal law that
 21     expressly prohibits unlawful entry to the White House and its
 22     grounds or the Vice President's residence and grounds. The
 23     Secret Service may must therefore rely upon a provision in the
 24     District of Columbia code which addresses only minor
 25     misdemeanor infractions when someone attempts to or
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  1     successfully trespasses upon the grounds of the White House or
  2     the Vice President's residence or worse, breaches the White
  3     House or the Vice President's residence itself. H.R. 347
  4     remedies this problem by specifically including the White
  5     House, the Vice President's residence and the respective
  6     grounds in the definition of restricted building or grounds for
  7     purposes of section 1752."
  8                  To my mind, that goes to the original rationale in
  9     the House Report back in 1970, which most if not all agree that
 10     was jurisdictional in nature.
 11                  The final thing I will add is that with respect to my
 12     concern about the addition of the felony provision, the
 13     question for me is whether that provision was added because the
 14     presence of the federal protectee increases the culpability of
 15     the individual that acts in some way or whether it just
 16     increases the federal interest in making sure there is a means
 17     of enforcing the law in some way, which goes back to Feola and
 18     the reasoning in Feola.
 19                  And I will note, that it is also a felony to simply
 20     carry a firearm or dangerous weapon in any Capitol building
 21     without any reference to who is present or federal protectee at
 22     all. And although that offense carries a 5-year sentence, here
 23     there is reason to think why Congress would have included any
 24     more serious penalty here, not because of merely the presence
 25     of the federal protectee, but because the carrying or use of
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  1      the firearm has to be in relation to the offense, which is not
  2      the case with respect to 40 U.S.C. section 5104(e).
  3                  And so that also, I think, supports my view that
  4      although that provision did cause me some pause, I am not
  5      convinced it changed things fundamentally, but ultimately the
  6      question for me -- and I know I have been going on a long time.
  7      Ultimately the question for me is what was Congress' intent?
  8      Did Congress intend for the knowing requirement to carry all of
  9      the way through or did it intend for it to stop before you got
 10      to the particular protectee? And I think one is a matter of
 11      the language, there is not any easy way to parse the language
 12      one way or the other on this. It is not like Rehaif where you
 13      could read the word knowingly all of the way through, in some
 14      sense. But more fundamentally, I think that I am convinced
 15      that the original 1970 or '71 version of the statute included
 16      what was essentially a jurisdictional requirement. And that
 17      although there had been changes over the years, I don't think
 18      any of that is sufficient evidence that Congress intended to
 19      change the statute in this fundamental way.
 20                  So for those reasons, I am going to conclude that the
 21      knowing requirement does not carry all of the way through
 22      section 1752(c)(1), but only goes up to the point of "or
 23      otherwise restricted area."
 24                  So then turning back to Count 3 of the superseding
 25      indictment, it charges Mr. Smith with entering and remaining in
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  1      a restricted building or grounds in violation of 18 U.S.C.
  2      section 1752(a)(1). To find him guilty of this offense, the
  3      Court must find that the government has proven the following
  4      elements beyond a reasonable doubt, that Mr. Smith entered or
  5      remained in a restricted building or grounds without lawful
  6      authority to do so and he did so knowingly. And I find both of
  7      those elements are satisfied. The evidence shows that
  8      Mr. Smith was present in many locations at the US Capitol that
  9      were posted, cordoned off or otherwise restricted and that he
 10      did not have lawful authority to be there. The evidence shows
 11      that he was repeatedly informed of this fact.
 12                  As a general matter, Lieutenant McCree from the
 13      Capitol Police testified that the areas he passed through had
 14      signage that indicated the areas were, in fact, off limits. It
 15      may be that those signs had been knocked down or trampled. It
 16      seems to me likely that even if those signs were knocked down
 17      and trampled that some of them were still visible on the
 18      ground. But I don't need to rely by any means on that
 19      testimony or on the existence of the signs in any way.
 20                  Because I don't see how any sensible person could
 21      have believed they were lawfully present given what was going
 22      on at the Capitol. There were police lines. There was a riot
 23      going on. Police officers were being assaulted. Police
 24      officers were repeatedly saying, "Get back, get back." The
 25      contention that that simply meant, move back momentarily, is
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  1      just not credible to my mind. The police lines were clearly
  2      just being overwhelmed by the rioters. And anyone who was
  3      there would have seen that is what was going on. The police
  4      were trying to maintain the lines. And as each line was
  5      overwhelmed, they set up another line. And they were
  6      overwhelmed. There was tear gas and OC spray in the air.
  7      People were engaged in battle on the grounds. And there were
  8      police lines that were consistently being overrun. And I am
  9      convinced beyond a reasonable doubt that Mr. Smith could not
 10      and did not believe that he could lawfully be present. But
 11      even if I had any doubt about that, there is no way that he
 12      could have lawfully believed that he could be present in the
 13      tunnel where the rioters were assaulting the police officers
 14      who were pushing back and trying to maintain the line in the
 15      tunnel. So I find Mr. Smith guilty with respect to Count 3.
 16                  Count 4 of the superseding indictment charges him
 17      with disorderly and disruptive conduct in a restricted building
 18      or grounds in violation of 1752(a)(2). And in order to find
 19      him guilty on this count, I have to find the following elements
 20      beyond a reasonable doubt: That the defendant engaged in
 21      disorderly or disruptive conduct in or in proximity to any
 22      restricted building or grounds, that he did so knowingly, with
 23      the intent to disrupt or impede the orderly conduct of
 24      government business or official functions. Third, that his
 25      conduct occurred when or so that his conduct, in fact, impeded
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  1      or disrupted the orderly conduct of government business or
  2      official functions. And I find that all three elements are
  3      satisfied beyond a reasonable doubt.
  4                  For the reasons I have already explained with respect
  5      to Count 1, the Court finds that Mr. Smith engaged in
  6      disruptive and disorderly conduct by shoving the police
  7      officers in the tunnel, which was a restricted area at the time
  8      of the offense. And, moreover, I find that Mr. Smith did so
  9      with the intent to impede or disrupt the orderly conduct of
 10      government business or official functions. And that was to
 11      impair or impede the Capitol Police from securing the Capitol
 12      building and maintaining the safety of the Capitol building.
 13                  And, finally, the Court finds that Mr. Smith was
 14      successful in his attempt and his pushing did prevent the
 15      Capitol Police from securing the tunnel area and the Capitol
 16      complex more generally on that afternoon.
 17                  Count 5 -- so I find him guilty of Count 4.
 18                  Count 5 of the superseding indictment charges
 19      Mr. Smith with engaging in physical violence in a restricted
 20      building or grounds in violation of 18 U.S.C. 1752(a)(4). In
 21      order to find him guilty of Count 5 the Court must conclude
 22      beyond a reasonable doubt that each of the following elements
 23      were satisfied: That Mr. Smith engaged in an act of physical
 24      violence against a person or property in or in proximity to any
 25      restricted building or grounds and that he did so knowingly.
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  1      The Court finds that the elements of Count 5 have been
  2      satisfied beyond a reasonable doubt, first, for the same
  3      reasons that I have explained with respect to Count 3.
  4      Mr. Smith was present in a restricted building or grounds when
  5      he was present in the tunnel and elsewhere on January 6, 2021.
  6      And, likewise, I find that for the reasons already explained,
  7      with respect to Counts 1, 2 and 7, that he engaged in an act of
  8      violence when he pushed against the police line in the tunnel.
  9      And finally for the reasons that I have explained with respect
 10      to Counts 1 and 2, I find that Mr. Smith did so knowingly and
 11      he knew that the tunnel was a restricted area and that knew he
 12      was engaging in physical violence in that area.
 13                  So that is my verdict. I will direct that the clerk
 14      register and file that verdict.
 15                  Have you had the opportunity to discuss or should we
 16      discuss now a date for sentencing?
 17                  MR. ROSS: Yes, Your Honor. The government has not
 18      spoken with the defense on prospective dates at this point.
 19                  THE COURT: Let me ask the Deputy Clerk to find a
 20      date approximately 90 days out.
 21                  THE COURTROOM DEPUTY: Are the parties available
 22      August 20th at 10 a.m.?
 23                  MR. SABATINI: Unfortunately, I am not, but my
 24      cocounsel is. Maybe there is -- if there is a couple other
 25      days, I would like to try to maybe look at one we could all be
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  1      present.
  2                  THE COURTROOM DEPUTY: August 22nd at 10:00 a.m.
  3                  MR. SABATINI: It is actually that week that is the
  4      issue. Is there maybe something the week prior?
  5                  THE COURTROOM DEPUTY: The judge is in trial.
  6                  MR. SABATINI: Would it be possible to do the first
  7      or second week of September? It would be the following week.
  8                  THE COURT: Let me ask, the week that I am in trial,
  9      is that the Greene case?
 10                  THE COURTROOM DEPUTY: Yes, Your Honor.
 11                  THE COURT: I think I am not going to sit on Fridays,
 12      if that helps.
 13                  THE COURTROOM DEPUTY: Okay.
 14                  THE COURT: Are you out that week?
 15                  MR. ROSS: I am, Your Honor. I am going out of town.
 16                  THE COURT: Do you need to be here or can your
 17      cocounsel cover it?
 18                  MR. ROSS: I'd like to be here, if we could find an
 19      amenable date.
 20                  THE COURTROOM DEPUTY: August 8th? No. I'm sorry,
 21      9th. I'm sorry.
 22                  MR. SABATINI: The 8th would be perfect? Not
 23      available, ma'am.
 24                  THE COURTROOM DEPUTY: No, that is Thursday. The
 25      judge is in trial but he said he won't be sitting on Fridays.
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  1                  MR. SABATINI: Only Fridays, I understand.
  2                  MR. ROSS: August 9th works for the government.
  3                  MR. SABATINI: We can do that.
  4                  THE COURTROOM DEPUTY: August 9th?
  5                  Mr. Sabatini.
  6                  MR. SABATINI: Mr. Smith would actually prefer the
  7      original date, the 20th, although I won't be present. It would
  8      be half our counsel team.
  9                  THE COURT: I would will leave that up to Mr. Smith.
 10      If he wants to proceed on the other date when you are not
 11      present, that is fine. If he wants to proceed on the day you
 12      can be here, that is fine too.
 13                  MR. SABATINI: The 20th is fine, Your Honor.
 14                  THE COURT: Okay. All right. We'll put the matter
 15      down for sentencing on August 20th.
 16                  And what are the parties' positions with respect to
 17      whether Mr. Smith should be remanded pending sentencing?
 18                  MR. ROSS: If I may, Your Honor, I think two prongs
 19      here -- given the Court's finding for Count 2, especially
 20      concerning the aiding and abetting charge, we would ask the
 21      Court, you know, considering the context by which that device
 22      was handed forward, of course, Mr. Smith handed that device
 23      forward for the intent, you know, that it be used on officers
 24      in accordance with the Court's finding, whether it was or was
 25      not was, frankly, a stroke of luck, you know, by Zach Rash's
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  1      action. But we would ask the Court more holistically to look
  2      at what he did there and then how he came back in and continued
  3      to engage in those acts of violence. Understanding that under
  4      111(a), it is not mandatory and the Court has discretion. The
  5      burden would now shift to the defense to show why not.
  6                  THE COURT: The question would be then whether I
  7      can -- if I can find by clear and convincing evidence that he
  8      does not pose a risk of flight and a risk to the community or
  9      danger to the community, then I am required to release him.
 10      And if I am not convinced by clear and convincing evidence as
 11      to either of those two elements then I am required to hold him;
 12      right?
 13                  MR. ROSS: Yes, Your Honor.
 14                  THE COURT: So what is your argument as to -- maybe I
 15      should hear from the defense, since they have got the burden on
 16      that first. And then I can let you respond.
 17                  MR. ROSS: Yes, Your Honor. If I could also go to
 18      the more -- what the government's position is -- the more
 19      important issue concerning this is the potential flight risk.
 20      You know, aside from Mr. Smith's, you know, lack of
 21      responsiveness during the pendency of these proceedings and his
 22      decisions to go dark for lack of a better word and forcing the
 23      government to come to this Court. And at least there was one
 24      indication that he just totally disregarded the Court's order.
 25                  THE COURT: Wasn't that when he said that he was
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  1      sick?
  2                  MR. ROSS: I can't recall the specifics, Your Honor.
  3      And I don't want to misrepresent.
  4                  THE COURT: Was there more than one occasion? I do
  5      remember there was an occasion --
  6                  MR. ROSS: There was one occasion in March where he
  7      did not respond to the Court's order. He was unresponsive to
  8      the government. I can't --
  9                  THE COURT: My recollection is that he indicated he
 10      was ill when that happened.
 11                  MR. ROSS: Understood, Your Honor. But I think the
 12      bigger issue was when -- and we are happy to put our agent on
 13      the stand, if you would like to hear from the agent -- that at
 14      the time Mr. Smith was ordered to self report to the FBI, when
 15      it was originally -- when he was originally arrested, the FBI
 16      surveillance team outside of Mr. Smith's house observed
 17      Mr. Smith and his wife piling what seemed to be luggage or bags
 18      into the truck. Mr. Smith then went around northern Alabama,
 19      Huntsville area, did not go directly to the FBI office that he
 20      was supposed to go to. It was only after the FBI engaged his
 21      attorney at the time that he did go to an FBI office. From my
 22      understanding, he didn't actually go there and the FBI arrested
 23      him.
 24                  THE COURT: Where did they arrest him?
 25                  MR. ROSS: If I could have one moment, Your Honor.
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  1                  THE COURT: Yes.
  2                  MR. ROSS: Would the Court like to hear from the
  3      agent?
  4                  THE COURT: If there is no objection, I am fine with
  5      that. He can come to the podium.
  6                  SPECIAL AGENT LEE: Where would you like me to start,
  7      sir?
  8                  THE COURT: If you can address his arrest and whether
  9      you thought that he was evading arrest, I guess.
 10                  SPECIAL AGENT LEE: So originally, Your Honor, we had
 11      worked a deal where he would come in at a certain time. I
 12      think it was early December of 2022. At the time, the time
 13      came and passed. He still was not at our office. Surveillance
 14      team picked him up loading luggage into the car after the time
 15      he was supposed to be at our office. From there, drove the
 16      opposite direction of the office at a high rate of speed.
 17      Again, the surveillance team wasn't trying to hide at that
 18      point again, because he is no longer headed in the correct
 19      direction. Took a circuitous route through town as we are
 20      engaging his defense counsel at the time. I think it was
 21      Mr. Webb. We finally got him on the phone. Again, confirmed
 22      we did provide the correct address, did provide the correct
 23      time. After that phone call, he did start heading in the
 24      correct direction. But after the route that we had driven, the
 25      length of time that had gone on since he was supposed to
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  1      surrender, we made the determination to make a traffic stop
  2      instead of allowing him to get to the office at that point.
  3                  THE COURT: How much time passed between when he was
  4      supposed to self surrender and when he was arrested?
  5                  SPECIAL AGENT LEE: It was over an hour, sir.
  6                  THE COURT: Let me hear from defense on this and I
  7      will give you all a chance to respond.
  8                  Mr. Roots.
  9                  MR. ROOTS: Yeah, I am -- obviously, we have just
 10      gotten on this case fairly recently. But my understanding from
 11      the facts I am aware of, Mr. Smith actually surrendered in the
 12      parking lot of the FBI building.
 13                  THE DEFENDANT: No.
 14                  THE COURT: You can talk -- why don't you talk to
 15      Mr. Roots. Make sure he gets it right.
 16                  MR. ROOTS: So he was detained directly in front of
 17      the parking lot of the FBI building. That is our
 18      understanding.
 19                  And I would remind the Court, this man actually has
 20      held the highest security clearances in his lifetime. He
 21      has -- this is a man who works on Apache helicopters, the inner
 22      mechanics, which are top secret information -- none of us
 23      have -- I don't think even the Court -- none us of have the
 24      right to know about these things. In his life, he has had the
 25      highest security clearances. He knows the inner workings of
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  1      Black Hawk helicopters and Apache helicopters. This is a man
  2      who has been trusted, you could say, with the national security
  3      secrets of the United States.
  4                  He has a stellar background, lots of medals, lots of
  5      decorations in the US military and as a contractor.
  6                  And none of that has been denied by the government.
  7      Like I said --
  8                  THE COURT: Any arrests other than this case?
  9                  MR. ROOTS: Other than this case, he has never once
 10      been arrested. This is the only arrest in his entire life.
 11      That requires a little bit of adjustment for someone who has
 12      held these high national security clearances. And, you know,
 13      if I had -- I think any of us who were -- had held that
 14      position of trust in the federal government and were facing
 15      charges like this, we would all have our moments of, you can
 16      say, having a meltdown over things.
 17                  In any case, Mr. Smith has fully complied over the
 18      past two years. He has been to every hearing. He arrives
 19      early. He leaves late. He has taken on this case himself. He
 20      has internalized. He has defended himself very rigorously. He
 21      has turned in his passport. There is no danger he is going to
 22      go anywhere. He is battling cellulitis and these health
 23      conditions which have caused his problems, to some extent.
 24                  THE COURT: I am more concerned about ties to the
 25      community. Does he live with his wife and children?
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  1                  MR. ROOTS: He has a wife. He has four children.
  2      His ties --
  3                  THE COURT: Is that his wife there?
  4                  Okay.
  5                  MR. ROOTS: His ties to the community are very
  6      extensive. Ties with the church, ties with his business
  7      relationships --
  8                  THE COURT: How old are the kids?
  9                  THE DEFENDANT: Eighteen, 14, 8 and 6.
 10                  MR. ROOTS: He says, 18, 14, 8 and 6.
 11                  THE COURT: I heard him.
 12                  Anything else you want to add?
 13                  MR. ROOTS: I would say, there is no real reason or
 14      purpose or grounds for being stepped back in this case.
 15                  THE COURT: All right. Mr. Ross, do you want to
 16      respond?
 17                  MR. ROSS: The only thing I will add, Your Honor, is
 18      the FBI thought it prudent to pull Mr. Smith out of his car and
 19      arrest him given his decision making on that day of arrest.
 20      You know, I don't -- understanding what the defense has argued
 21      in terms of Mr. Smith's past, he made a conscious decision,
 22      with -- represents a flight risk.
 23                  But anything else -- if the Court has any questions
 24      at this point, Your Honor --
 25                  THE COURT: What I am going to do is I am going to
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  1      order that he be placed on home incarceration with a monitoring
  2      device. And that way if there is any concern, someone will
  3      know about it promptly. And I will order that he report --
  4      this will still be the same Pretrial Services folks.
  5                  Do you have Pretrial Services officer near your home?
  6                  THE DEFENDANT: Yes, I do.
  7                  THE COURT: I am going to order that you report to
  8      the Pretrial Services officer. How much time do you need to
  9      get home? Are you driving?
 10                  THE DEFENDANT: It is a 14-hour drive.
 11                  Yes, Your Honor.
 12                  THE COURT: So when will you be back home? I guess
 13      today is Friday. How about if I order that you report by
 14      Monday morning?
 15                  THE DEFENDANT: Yes, Your Honor.
 16                  THE COURT: So I will order that you report Monday
 17      morning to Pretrial Services and your current Pretrial Services
 18      office. And will order that you be held on home incarceration
 19      pending sentencing with a monitoring device. And I guess do I
 20      need --
 21                  Do we have anyone from Pretrial Services? I will
 22      need the paperwork to do this.
 23                  Glenda, do you need help with that? What do we do
 24      about the paperwork at this hour on a Friday?
 25                  Let me do this. Let me step off the bench and see if
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  1      you can work out the paperwork on this. And I would order the
  2      same conditions, I assume including no weapons in the home of
  3      any kind. And that at least we start off with home
  4      incarceration, which means you cannot leave the home for any
  5      purpose without prior authorization from the Court. And that
  6      you not violate any other state, local or federal law and that
  7      you abide by all of the other restrictions which were
  8      previously in place.
  9                  Mr. Roots.
 10                  MR. ROOTS: Yeah. This, of course, is very
 11      expensive. He is paying a lot of money for us, for the
 12      attorneys. We would beg the Court for an opportunity for him
 13      to work and continue working, given he will be on an ankle --
 14      my understanding he will be on an ankle monitoring system, we
 15      would request that be able to leave his house, go to work and
 16      this kind of thing.
 17                  THE COURT: So I understand that. That was the
 18      reason that I said at least initially. Because what I would
 19      like to do is -- be able to do is hear from the Pretrial
 20      Services officer. Let's do this initially. And if he can work
 21      out a plan with Pretrial Services officer that is acceptable to
 22      the Pretrial Services officer, you can come back to me and say,
 23      this is our plan and agreement, he would leave the house during
 24      these hours to go to work, this is where he would travel. This
 25      is what he would be allowed to do. And then you can bring that
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  1      back to me once we have a chance to hear from Pretrial Services
  2      and the government can respond to that as well.
  3                  MR. ROOTS: Okay. Thank you.
  4                  THE COURT: Anything else tonight other than
  5      resolving the paperwork on this?
  6                  MR. ROSS: Other than acknowledging the Court's
  7      directive concerning the stun gun, Your Honor, and future use
  8      of it.
  9                  THE COURT: Fair enough.
 10                  MR. ROSS: I apologize.
 11                  THE COURT: It wasn't so much me, but I could imagine
 12      some of my colleagues would not have been happy.
 13                  MR. ROSS: Understood, Your Honor.
 14                  THE COURT: You might have been on the wrong end of
 15      that device.
 16                  Yes, Mr. Roots.
 17                  MR. ROOTS: I had one question. I wasn't following
 18      quite clearly enough. Now, the Court acquitted Mr. Smith on
 19      Count 6. What about Count 7? I didn't hear very --
 20                  THE COURT: Count 7, let me just make sure what count
 21      that was. Count 7. I convicted on Count 7, but let me just
 22      double check that.
 23                  Oh, yes. I am pretty sure I did convict on that one,
 24      but let's see here.
 25                  Yes, I convicted. I found him guilty of Count 7.
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  1                  MR. ROOTS: Okay.
  2                  THE COURT: Everything except Count 6.
  3                  I am going to step off the bench for a minute. I
  4      know it is late on a Friday afternoon. I'd ask if you all
  5      could stay around. I want to make sure we get the paperwork
  6      done properly. If there is any objection from the government
  7      to any of the terms, I want to make sure you get a chance to
  8      see what is in the paperwork before we ask Mr. Smith to attest
  9      to the requirements. I will be back. Thank you.
 10                  (Recess taken at 4:59 p.m.)
 11                  THE COURTROOM DEPUTY: Mr. Smith, so you are being
 12      released on the same conditions that you were previously
 13      released on, minus the fact that you need to report to Pretrial
 14      Services office in the Middle District of Alabama no later than
 15      Monday the 13th at 11:00 a.m. Your other change is that you
 16      are on home incarceration. You are restricted to 24 hours a
 17      day lockdown at your residence, except for medical necessities,
 18      court appearances or other activities specifically approved by
 19      the Court.
 20                  THE DEFENDANT: Can I ask you a question?
 21                  THE COURTROOM DEPUTY: Yes.
 22                  THE DEFENDANT: You said activities approved by the
 23      Court. If I wanted to visit my father or someone who does not
 24      obviously live in my home, would that be something I could get
 25      approved by the Court?
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  1                  THE COURTROOM DEPUTY: You need to get it approved
  2      by -- get approval by Pretrial Services. So when you get to
  3      Pretrial -- Pretrial Services will have this. When you get
  4      there to them on Monday, they will go through what this means
  5      for you.
  6                  THE DEFENDANT: Okay.
  7                  THE COURTROOM DEPUTY: If there is anything or
  8      anything needs to be changed, you contact your attorneys. Your
  9      attorneys file a motion with the Judge.
 10                  Okay. So before you sign it, I have got to swear you
 11      to it and then you sign it.
 12                  THE DEFENDANT: Can you say or affirm?
 13                  THE COURTROOM DEPUTY: Yeah. No problem. I need you
 14      to stand and raise your right hand. With the conditions I have
 15      just read to you, do you solemnly affirm to follow the
 16      conditions of release as set forth by the Court?
 17                  THE DEFENDANT: I affirm.
 18                  THE COURTROOM DEPUTY: I need your signature and city
 19      and state.
 20                  Signature here and --
 21                  THE DEFENDANT: I am breezing through this real
 22      quick.
 23                  THE COURTROOM DEPUTY: That is fine.
 24                  THE DEFENDANT: Is any of these my copy?
 25                  THE COURTROOM DEPUTY: No. I can make a copy for
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  1      you, but, no, that is mine.
  2                  THE DEFENDANT: That would be fantastic.
  3                  (Proceedings concluded at 5:14 p.m.)
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  1                             C E R T I F I C A T E
  2
  3                  I, SHERRY LINDSAY, Official Court Reporter, certify
  4      that the foregoing constitutes a true and correct transcript of
  5      the record of proceedings in the above-entitled matter.
  6
  7
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  9
 10                                Dated this 14th day of May, 2024.
 11
 12                                ________________________
                                   Sherry Lindsay, RPR
 13                                Official Court Reporter
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   86/1 87/1 87/1 87/9 88/23 90/12   you'll [1] 29/18
   90/13 91/13 93/19 96/21 99/2      you're [2] 12/24 18/19
                                     younger [1] 93/6
